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 4   ATTORNEYS FOR PLAINTIFFS
     AND THE PUTATIVE CLASS
 5

 6

 7

 8
                              UNITED STATES DISTRICT COURT
 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

10
     ____________________________________
     JOHN MANOS, TARA BORRELLI,          )
11   AND JESSIE MANOS                    )            Civil Action No.16 cv 1142 CJC-KES
12   individually and on behalf of all   )
     similarly situated individuals      )
13                                       )           CORRECTED SECOND AMENDED
14
     PLAINTIFFS                          )           COMPLAINT FOR DAMAGES,
                                         )           INJUNCTIVE, AND
15   vs.                                 )           DECLARATORY RELIEF
                                         )
16
                                         )                CLASS ACTION
17   MTC FINANCIAL INC; MALCOLM          )
     CISNEROS, ALC; DITECH FINANCIAL )                DEMAND FOR JURY TRIAL
18
     LLC; CITIMORTGAGE INC; FEDERAL )
19   NATIONAL MORTGAGE ASSOCIATION)
     and DOES 1-5                        )
20
                                         )
21   DEFENDANTS                          )
     ____________________________________)
22

23
           This is an action for damages, declaratory relief, injunctive relief, and other
24
     equitable relief arising from Defendants’ unfair and/or deceptive acts and practices in
25

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         Second Amended Complaint - 1
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 1
     violation of the Fair Debt Collection Practices Act (hereinafter ‘FDCPA’), 15 U.S.C.

 2   §1692 et seq., as amended, the Racketeer Influenced and Corrupt Organizations Act
 3   (hereinafter ‘RICO’), and other state statutes.1
 4
                                       JURISDICTION AND VENUE
 5
     1.     This Court has original subject matter jurisdiction over Plaintiffs’ FDCPA and RICO
 6
     claims pursuant to 15 U.S.C. §§1692(a) & (k), 18 U.S.C. §§1961-1968, and 28 U.S.C.
 7

 8
     §1331.

 9   2.     This Court has supplemental jurisdiction over the remaining claims stated in this
10   complaint pursuant to 28 U.S.C. §1367(a) because these claims form part of the same case
11
     or controversy under Article III of the United States Constitution.
12
     3.     Venue is proper in the United States District Court for the Central District of
13
     California pursuant to 28 U.S.C. §§1391(b) and (c) because all Defendants are either
14

15
     residents and/or conduct business within this district and many of the representations, acts,

16   and omissions giving rise to Plaintiffs’ claims were made within this district.
17                                                  PARTIES
18
     4.     Plaintiff John Manos is an individual residing at 5631 Foothill Dr., Agoura Hills,
19
     California [‘Foothill property’]. At all relevant times to this complaint Defendants have
20
     maintained that Mr. Manos is obliged to pay a debt owed to the named Defendants.
21
     Plaintiff has been harmed by Defendants’ actions and is a “consumer” as defined in 15
22

23   U.S.C. §§ 1602(i) and 1692a(3).
24   1
      In accordance with this Court’s order Plaintiffs have removed the causes of actions, and certain facts
25
     pertaining to said causes of action, that were dismissed without a leave to amend. Plaintiffs have not
     abandoned those claims and facts and preserves all claims for appellate review.
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 1
     5.     Plaintiff Tara Borrelli is an individual residing within the county of Los Angeles,

 2   California. On 2 October 2015 Tara Borrelli, for valuable consideration, became the
 3   distributee of a 50% interest in the Foothill property. Since 8 March 2016 Defendants
 4
     Fannie Mae, Ditech Financial LLC., and MTC Financial Inc. have taken actions to effect
 5
     dispossession of Ms. Borrelli’s interest in the Foothill property and to sell the property in
 6
     order to pay off a debt, or a portion of a debt, that is not owed to any of the Defendants
 7

 8
     and/or cannot lawfully be collected. Plaintiff has been harmed by Defendants’ actions and

 9   is a “consumer” as defined in 15 U.S.C. §§ 1602(i) and 1692(a)(3).
10   6.     Plaintiff Jessie Manos is the daughter of John Manos and Tara Borrelli. On no later
11
     than 17 December 2014 Jessie Manos became the good faith purchaser for value and the
12
     successor-in-interest to John Manos’s interest in the Foothill property by virtue of a duly
13
     recorded quitclaim deed taken in satisfaction of a recorded judgment for outstanding child
14

15
     support due. Since 8 March 2016 Defendants have maintained that Ms. Manos owes a debt

16   to the named Defendants. Since 8 March 2016 Defendants Fannie Mae, Ditech Financial
17   LLC., and MTC Financial Inc. have taken actions to dispossess Ms. Manos’s interest in the
18
     Foothill property and to sell the property in order to pay off a debt, or a portion of a debt,
19
     that is not owed to any of the Defendants and/or cannot lawfully be collected. Plaintiff has
20
     been harmed by Defendants’ actions and is a “consumer” as defined in 15 U.S.C. §§
21
     1602(i) and 1692(a)(3).
22

23   7.     Plaintiffs Tara Borrelli and Jessie Manos are currently the vested unrestricted title
24   owners and joint tenants of the Foothill property.
25

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 1
     8.      Defendant MTC Financial Inc., d/b/a Trustee Corps [hereinafter ‘MTC], is a

 2   California company with its principal place of business in Irvine, California.
 3   9.      Defendant Malcolm Cisneros, A Law Corporation [hereinafter Malcolm Cisneros] is
 4
     a law firm with its principal place of business in Irvine, California.
 5
     10.     Defendant Ditech Financial, LLC , a successor in interest to Green Tree Servicing
 6
     LLC , [hereinafter ‘Ditech’] is a default mortgage servicer and a debt collection agency
 7

 8
     with its principal place of business in St. Paul, Minnesota. Ditech regularly conducts

 9   business in the State of California and throughout the United States.
10   11.     Defendant Federal National Mortgage Association, a/k/a Fannie Mae, is a
11
     government-sponsored enterprise chartered by Congress in 1938. Fannie Mae regularly
12
     conducts business in the State of California and throughout the United States.
13
     12.     Defendant CitiMortgage Inc. [hereinafter CitiMortgage] is a mortgage servicing
14

15
     company with a principal place of business in O’Fallon, Missouri. CitiMortgage regularly

16   conducts business in the State of California and throughout the United States.
17   13.     At all times relevant to this complaint each Defendant, for their own individual
18
     and/or financial advantage, was acting in concert with the other Defendants and in
19
     furtherance of an existing scheme and conspiracy to defraud consumers.
20
                       FACTS RELEVANT TO ALL CAUSES OF ACTION
21
     14.     On or about 11 January 1999 John Manos purchased the Foothill property, a
22

23   residential duplex consisting of two small bungalows. Mr. Manos executed a non-recourse
24   promissory note for the benefit of IndyMac Mortgage Holdings LLC in the amount of
25
     $400,000 secured by a DOT signed by Mr. Manos and a second deed of trust to the seller.
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 1
     15.     From its purchase in 1999 Mr. Manos has used the Foothill property as a principal

 2   residence. One of the units has been used over the years by Mr. Manos’s mother and sister,
 3   as well as other family members visiting Mr. Manos and his family. At all relevant times to
 4
     this complaint the Foothill property was held and used primarily for personal, family, and
 5
     household purposes.
 6
     16.     On 14 July 2003 Mr. Manos refinanced the Foothill property in order to reduce his
 7

 8
     mortgage rate and monthly payments. Mr. Manos signed an ARM promissory note for the

 9   benefit of Metrociti Mortgage LLC, d/b/a/ No Red Tape Home Loan in the amount of
10   $388,000.00. The note provided for an initial interest rate of $4.625% for five years with a
11
     rate change every six months after 1 August 2008. (Exhibits at pp. 001-5)
12
     17.     On 14 July 2003 Mr. Manos also signed a DOT which names Metrociti Mortgage LLC
13
     as the Lender; Fidelity National Loan Portfolio Solutions as the trustee, and MERS, Inc. as
14

15
     the beneficiary. (Exhibits at pp. 006-29) At the same time, the DOT states that MERS, Inc. is

16   acting solely as a nominee for Lender and Lender’s successors and assigns.
17   18.     The 14 July 2003 mortgage is not a ‘purchase money mortgage’ as defined in
18
     California Civil Code section 580b(a)(3)(a).
19
     19.     On 14 July 2003 Metrociti Mortgage LLC was only the broker for the loan. The loan
20
     was actually funded by Bank of America on 28 July 2003 and later pooled and securitized by
21
     Lehman Brothers Holdings Inc. and/or its subsidiary Aurora Bank FSB.
22

23   20.     As part of the securitization pool the Manos promissory note was sold and validly
24   transferred several times as follows:
25

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 1
                (A). Plaintiffs believe and hereby allege that Aurora Bank FSB remained the owner

 2              and holder of the note, loan, and deed of trust until it ceased operations in 2012, at
 3              which time the Manos loan and debt, together with the corresponding deed of trust,
 4
                were apparently purchased by Fannie Mae and placed into an MBS trust pool.
 5
                Despite repeated requests Ditech has refused to identify the MBS trust that held the
 6
                Manos loan.
 7

 8
                (B). In June 2012 Fannie Mae repurchased the Manos loan from the MBS trust and

 9              removed the loan from the MERS registry in anticipation of the commencement of
10              foreclosure proceedings. Fannie Mae has remained the owner and holder of the
11
                Manos debt and promissory note to date.
12
     21.     The core mortgage servicing rights (MSR) over the Manos loan, which are
13
     independent from the mortgage contract, were also transferred several times as follows:
14

15
             (A). On 15 August 2003 Aurora Servicing LLC acquired the MSR over Mr. Manos’s

16   loan from the originating lender.
17           (B). On 1 July 2004 Aurora Servicing LLC sold and transferred the servicing rights
18
     over the Manos loan to CitiMortgage LLC.
19
     22.     These transfers of MRS did not affect in any way the status or rights of the owner and
20
     holder of the debt and loan.
21
     23.     On 27 December 2011 CitiMortgage declared the Manos loan in default and provided
22

23   a 30-day cure notice in the amount of $6,446.01.
24   24.     Mr. Manos requested a loan modification and consideration for a hardship treatment
25
     program but was unable to bring his account current. Mr. Manos continued to make
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 1
     payments but never cured the delinquencies on his account. He made multiple disputes and

 2   requests for corrections without success.
 3   25.     CitiMortgage never initiated foreclosure proceedings against Mr. Manos.
 4
     26.     On or about 15 January 2014 CitiMortgage Inc. sold back to Fannie Mae the servicing
 5
     rights over Mr. Manos’s and some other 64,000 loans with a balance of roughly $10 billion
 6
     which included the majority of the delinquent loans the company had serviced for Fannie
 7

 8
     Mae until then.

 9   27.     At some time thereafter Fannie Mae placed the Manos debt for collection with
10   Ditech’s predecessor, Green Tree Servicing LLC, a ‘high touch’ default servicer and a
11
     registered collection agency. At the time Green Tree Servicing LLC acquired the Manos
12
     account, the loan was already in default and had been so since December 2011. Green Tree
13
     Servicing LLC received an assignment and transfer of the Manos account solely for the
14

15
     purpose of facilitating the collection of said debt for Fannie Mae and acquired no right over

16   the Manos debt, note, or deed of trust. No transfer of the Manos note occurred when Green
17   Tree became the default servicer.
18
     28.     On 14 July 2015 Green Tree sent Mr. Manos a Notice of Default and Right to Cure.
19
     Mr. Manos did not cure the default, and the note was accelerated on 13 August 2015.
20
     29.     On 16 December 2015 Mr. Manos filed a complaint with the Consumer Financial
21
     Protection Bureau (CFPB), case no. 151216-001574. In response, on 21 December 2015
22

23   Ditech placed Lender Placed Insurance (LPI) on the Foothill property and added $1,202.00
24   to the balance of the loan and as additional debt to Mr. Manos and Ms. Jessie Manos. Jessie
25

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 1
     Manos became the owner of the Foothill property on 2 October 2014, before the MSR

 2   transfer to Green Tree.
 3   30.     On or about 28 December 2015 Ditech referred the Manos account for the initiation of
 4
     non-judicial foreclosure to Malcolm Cisneros and MTC Financial Inc. At the time of the
 5
     referral the loan was already declared in default.
 6
     31.     MTC Financial Inc. d/b/a/ Trustee Corps, the newly appointed ‘substitute trustee’,
 7

 8
     recorded a notice of default and affidavit on 9 March 2016 identifying the borrowers as John

 9   Manos and Jessie Manos and the amount in default as $28,607.37.
10   32.     No notice of sale has been recorded.
11
       THE CALIFORNIA NON-JUDICIAL FORECLOSURE STATUTORY SCHEME
12
     33.     In California a mortgage contract is comprised of two instruments: a promissory
13
     note and a mortgage/deed of trust. The promissory note is sold and transferred without
14

15
     being recorded in the public record. The mortgage or deed of trust (DOT) is recorded. The

16   DOT, however, is inseparable from the note it secures and by operation of section 2936 of
17   the California Civil Code follows the note even without a separate assignment. No
18
     assignment of a note or a deed of trust needs to be recorded under California law.
19
     34.     Further, in California, a mortgage or a DOT creates nothing more than a lien in
20
     support of the debt which it is given to secure. A DOT does not convey the property when
21
     executed; instead, it is a three-party transaction in which real estate is conveyed by a
22

23   borrower, the ‘trustor,’ to a ‘trustee,’ who holds legal title in trust for a lender, the
24   ‘beneficiary,’ as security for credit or a loan the lender has given the borrower. Neither
25
     title or possession in the property pledged as security for the debt is conveyed by these
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 1
     deeds, even if “on its face the deed conveys title to the trustee, because it shows that it is

 2   given as security for an obligation, it is an equitable mortgage.” See Grant S. Nelson &
 3   Dale A. Whitman, Real Estate Finance Law § 1.6 (4th ed. 2001)). The trustee or successor
 4
     trustee under a DOT is not a true trustee with fiduciary obligations nor merely an agent
 5
     for the lender and the lenders successors. Instead a trustee under a DOT must act as a
 6
     common agent for both the borrower-trustor and the lender-beneficiary. In 2016 the
 7

 8
     California Supreme Court held that only the “the person or entity that currently holds the

 9   note and the beneficial interest under the deed of trust—the original beneficiary or its
10   assignee—or that entity’s agent” can initiate the foreclosure process.” In so holding the
11
     Yvanova Court emphasized that “[i]n itself, the principle that only the entity currently
12
     entitled to enforce a debt may foreclose on the mortgage or deed of trust securing that
13
     debt is not, or at least should not be, controversial… The borrower owes money not to the
14

15
     world at large but to a particular person or institution, and only the person or institution

16   entitled to payment may enforce the debt by foreclosing on the security.” See Yvanova
17   v. New Century Mortgage Corporation, 365 P.3d 845, 851-60 (Cal. 2016).
18
     ASSIGNMENT AND TRANSFER OF FANNIE MAE NOTES
19
     35.     In order to sale mortgages to Fannie Mae lenders must use uniform promissory
20
     notes and DOT forms created by Fannie Mae. Each such promissory note states that the
21
     lender named in the note “or anyone who takes this Note by transfer and who is entitled to
22

23   receive payments under this Note is called the ‘Note Holder.’” (Exhibits at p. 1)
24   36.     All sales of mortgages by lenders and originators to Fannie Mae during the
25
     securitization process are absolute and unconditional: each seller sells, transfers, assigns,
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 1
     sets over, and conveys to Fannie Mae without recourse, free and clear of any liens, all

 2   rights, title, and interest in and to the loans, including all principal due and interest
 3   accrued on them. Each seller delivers electronically to Fannie Mae a schedule identifying
 4
     all loans sold and physically delivers to a designated Fannie Mae custodian the original
 5
     notes endorsed in blank. For loans registered in MERS the system reflects that Fannie
 6
     Mae owns 100% interest in the loans. For loans not registered in MERS the seller
 7

 8
     executes a written assignment of mortgage from the seller (or originator) to Fannie Mae

 9   that unconditionally conveys both the loan endorsed in blank and security instrument to
10   Fannie Mae. The original unrecorded assignments are then delivered to a designated
11
     Fannie Mae facility. The biding designations in MERS and the unrecorded assignments
12
     back to Fannie Mae transform all notes into notes payable solely to the order of Fannie
13
     Mae, not to the order of bearer. These notes thus require a negotiation and actual
14

15
     delivery to the new purchaser and/or assignee for a valid transfer of a holder status.

16   37.     Fannie Mae either holds the purchased loans in its portfolio (whole loans) or holds
17   the loans as the trustee of a Mortgage Backed Security [hereinafter ‘MBS’] trust. In a
18
     securitization transaction, the MBS trust is the owner or assignee of the mortgage loans
19
     and corresponding security instruments, while the investor is a creditor of the trust entitled
20
     to the cash flow derived from the proceeds of the mortgage loans. The securitization thus
21
     results in the economic separation of the legal title to the mortgage loan and the beneficial
22

23   interest in the mortgage loan obligation.
24   38.     Neither the notes nor the DOTs create or deal with MSR, they arise from separate
25
     contracts between Fannie Mae and its approved servicers. The MSR does not affect or
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 1
     change the fact that at all times Fannie Mae or the MBS trust remain the unconditional

 2   owner and holder of the note and deed of trust and the sole entity to whom the debt is
 3   payable.
 4
                                FIRST CAUSE OF ACTION
 5              VIOLATIONS OF THE RACKETEER INFLUENCED AND CORRUPT
                        ORGANIZATIONS ACT, 18 U.S.C. §§1961-1968)
 6                         (by all Plaintiffs against all Defendants)
 7
                                     Count One: 18 U.S.C. § 1962(c)
 8

 9   39.     Plaintiffs incorporate by reference all foregoing paragraphs.
10   40.     Each named defendant is a registered corporation and holds and/or is capable of
11
     holding legal or beneficial interest in property: as such each is a “person” as defined by 18
12
     U.S.C. §1961(3).
13
     Enterprises
14

15
     41.     Section 1961(4) defines an enterprise for RICO purposes as “any individual,

16   partnership, corporation, association or other legal entity, and any union or group of
17   individuals associated in fact although not a legal entity.”
18
     The MERS Enterprise
19
     42.     Mortgage Electronic Registration Systems, Inc., (MERS) is a Delaware corporation
20
     registered in 1993. MERS is separate and distinct entity from each of the named
21

22
     Defendants. MERS corporation is one of the enterprises involved in the activities

23   challenged by this complaint.
24   43.     MERS Inc. is a wholly owned, bankruptcy remote subsidiary of MERSCORP Inc.,
25
     which is also a Delaware corporation. To track the transfer of servicing rights and
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 1
     ownership of mortgage loans Fannie Mae, national banks, and other large lenders created

 2   MERSCORP Inc. which owns and maintains an electronic mortgage registry known as
 3   MERS®.
 4
     44.     MERS Inc. has no employees, offices, assets, or a physical location. MERS Inc.,
 5
     however, has over 20,000 ‘corporate officers’ a/k/a ‘certifying officers’ who are
 6
     employees of lenders, mortgage servicers, or Fannie Mae approved law firms. The offices
 7

 8
     to which these individuals are purportedly appointed are ‘vice president’ and ‘assistant

 9   secretary’ of MERS Inc. These designations are given to provide a appearance of
10   legitimacy to acts done by the ‘certifying officers’.The authority granted to these
11
     ‘certifying officers’ is not associated with the management of MERS Inc. or its business
12
     operations but is limited solely to: (1) executing lien releases, (2) executing mortgage
13
     assignments, (3) initiating foreclosures, (4) executing proofs of claims and other
14

15
     bankruptcy related documents (e.g., motions for relief of the automatic stay), (5)

16   executing modification and subordination agreements needed for refinancing activities,
17   (6) endorsing over mortgage payment checks made payable to MERS (in error) by
18
     borrowers, and (7) taking such other actions and executing documents necessary to fulfill
19
     the member’s servicing duties. These MERS certifying officers are the same employees
20
     whom the lenders and servicers use to carry out these functions when servicing a loan or
21
     foreclosing on non-MERS mortgages. According to congressional testimony by R.K.
22

23   Arnold, president and CEO of MERSCORP, Inc., to be a MERS certifying officer, one
24   must be a corporate officer of the respective lender/servicer/law firm, have basic
25

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 1
     knowledge of the MERS Registry, and “pass a certifying examination administered by

 2   MERS.”
 3   The Default Industry Association-in-fact Enterprise (AIF Enterprise)
 4
     45.     The collaboration of Fannie Mae, Ditech, Malcom Cisneros, MTC Financial, and
 5
     various other Fannie Mae approved lenders, servicers, law firms, and trustees to collect
 6
     debts, unearned, inflated and/or impermissible fees and costs and to conduct unlawful
 7

 8
     foreclosures is separate “enterprise” as defined by 18 U.S.C. §1961(4).

 9   46.     This AIF Enterprise is separate and distinct from the culpable persons (the named
10   Defendants) that participate in, and manage the enterprise. The AIF Enterprise functions
11
     as a continuing unit through an ongoing organization with a common purpose as more
12
     fully described below.
13
     47.     The named defendants and other Fannie Mae approved lenders/servicers/law
14

15
     firms/vendors entered into a joint venture to service debt in default, pursue foreclosures en

16   masse against affected borrowers, and in the process sought to, and in fact, collected
17   millions of dollars of unearned, inflated, or unreasonable legal fees, late charges, and
18
     ‘corporate advances’ by exploiting the fragmented rights secured by securitized mortgage
19
     notes and deeds of trust and by wrongfully foreclosing or attempting to foreclose without
20
     authority and without paying the proceeds to the actual debt owners.
21
     48.     In the early and mid 2000s risky subprime loans (such as ‘no-docs loans’, ARMs,
22

23   lower initial interest rate loans, and loans with negative amortization, etc.) enabled banks
24   to qualify more borrowers for loans and more loans for larger amounts.
25

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 1
     49.     Large banks and mortgage originators expected that those risky loans once foisted

 2   on MBS investors would become delinquent, and Fannie Mae and the banks structured the
 3   securitization process to benefit from the anticipated future delinquencies.
 4
     50.     As shown above Fannie Mae does not service the mortgage loans it owns or
 5
     securitizes. Instead, Fannie Mae enters into servicing agreements with the lender-sellers or
 6
     with unrelated third-party servicers. Only approved core and default servicers a/k/a ‘high
 7

 8
     touch servicers’ can service and collect on Fannie Mae loans.

 9   51.     The right to service Fannie Mae loans can be sold by one servicer to another only upon
10   approval by Fannie Mae.
11
     52.     During the recent financial crisis many borrowers, including Mr. Manos, fell behind
12
     on their mortgages. To deal with the deluge of delinquencies members of the AIF
13
     Enterprise adjusted their operations and processes to expedite the foreclosure process of
14

15
     Fannie Mae mortgages while increasing their profits at the expense of struggling home

16   owners.
17   53.     To accomplish the purpose of the AIF Enterprise defendants agreed that starting in
18
     August 2008 all Fannie Mae owned and guaranteed loans must be referred by the
19
     servicers for foreclosure only to law firms who are members of the ‘Fannie Mae retained
20
     attorney network.’ Only small number of firms were ‘approved’ and included in the
21
     network. For example, only nine law firms were supposed to handle all Fannie Mae
22

23   foreclosures in the entire state of California. The larger law firms, like Malcolm Cisneros,
24   were approved as the preferred providers in multiple jurisdictions. Malcolm Cisneros was
25

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 1
     ‘approved’ to handles foreclosures in Arizona and Washington, in the addition to

 2   California.
 3   54.     The servicers were responsible for monitoring all aspects of the performance of the
 4
     Fannie Mae retained attorneys to whom they had made referrals, including loss mitigation
 5
     activities, cure rates, and timeline performance.
 6
     55.     Non-performing loans do not generate income for the owners of the loans: as a
 7

 8
     result, the servicer of a non-performing loan does not receive base servicing fees. Instead,

 9   the Pooling and Servicing Agreements allow the servicer of the MBS trust and its
10   subservicers to retain all charges assessed on late payments and to recoup ‘corporate
11
     advances’ from the ultimate recoveries on modified loans or on liquidated properties
12
     before the sale proceeds are passed on to the owners/investors of the loan.
13
     56.     Since default generated fees dwarf the contractual base servicing fee paid by the
14

15
     MBS trusts and Fannie Mae, the servicer and its ‘administrative agent’ have little

16   incentive to expend more than the bare minimum of effort to cure a default.
17   57.     On delinquent loans the MBS servicer’s profitability depends on the stream of
18
     revenue derived from default related fees, including fees for late payments, phone
19
     payments, force-placed insurance, property preservation, payoff statements, loan
20
     modifications, and foreclosure actions.
21
     58.     MBS servicers like CitiMortgage and Ditech do not undertake these default related
22

23   activities themselves. Instead, the servicers replace in-house operations with affiliated
24   subsidiaries or vertically integrated vendors who handle the various tasks associated with
25
     the management and liquidation of defaulted loans.
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 1
     59.     Law firm are guaranteed a flat fee for each foreclosure regardless of the work

 2   involved. In addition, they are compensated for costs and extraordinary legal services. The
 3   Law firm’s profitability depends on the speed and number of foreclosures processed.
 4
     60.     The default subservicers and attorneys like MTC Financial Inc. and Malcolm
 5
     Cisneros are incentivized to impose as many charges on borrowers as possible. Because
 6
     the MBS servicer is not the ultimate payer of the fees charged by the vendors and law
 7

 8
     firms, the MBS servicer has an incentive to use higher cost vendors that offer comissions,

 9   free ancillary services, and/or other financial benefits. Further, the MBS servicer has no
10   incentive to make sure that work billed by the vendor/law firm is necessary, actually
11
     performed, or reasonable as required by the mortgage contracts.
12
     61.     Vendors, law firms, force-placed insurers, and other outsourcers who specialize in
13
     providing subservicing, property preservation, force-placed insurance, title service, trustee
14

15
     services, legal services, and recordation work add a substantial mark-up to the actual costs

16   for their services. The outsourcers then submit to the MBS servicer invoices detailing the
17   inflated, unreasonable, and/or unearned fees in order to create a paper trail to be used to
18
     justify the fees. The MBS servicer then adds the marked-up fees to the principal balance
19
     of the borrower’s debt.
20
     62.     The MBS servicer then presents all invoices and claims for fees, charges, and
21
     advances for approval to Fannie Mae.
22

23   63.     Fannie Mae then allows the servicer to deduct the fees from the proceeds of
24   foreclosure sales, loan modifications and cures, or from the stream of monthly payments
25

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 1
     made by non-defaulted borrowers, thus before the investors of the MBS trust receive their

 2   share.
 3   64.      Debtors have no choice over the selection and use of default service providers.
 4
     65.      Debtors or investors have no way to question or challenge the claimed fees and
 5
     costs of default service providers. Defendants’ scheme allows outsourcers to dictate costs
 6
     for foreclosure-related services with no accountability.
 7

 8
     66.      Defendants’ marked-up fees violate the mortgage contract: the fees exceed the

 9   actual cost of the services and are thus not reasonable and appropriate to protect either the
10   note holder's interest in the property or rights under the security instrument. The marked-
11
     up fees are assessed for the sole benefit of the servicer and its default vendors.
12
     67.      The vertically integrated vendors like MTC Financial Inc. and Malcolm Cisneros,
13
     not the servicer or the lender, are in direct contact with the borrower and perform all
14

15
     collection functions on delinquent loans in foreclosure. These vendors are shielded from

16   regulatory oversight and liability by using the name of the MBS servicer and/or labeling
17   themselves “trustee” or “servicer”.
18
     68.      Pursuant to the written agreements between Fannie Mae and its various servicers
19
     and vendors, each servicer and/or vendor undertakes to perform its obligations as an
20
     independent contractor and is neither an employee or agent of Fannie Mae. Further,
21
     Plaintiffs believe and hereby allege that each servicer and /or vendor agrees to indemnify
22

23   Fannie Mae for any and all losses caused by the collection activities performed by the
24   default service provider.
25

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 1
     69.     The AIF Enterprise described above thus procures the involvement and

 2   participation of the servicers, law firms, trustees, and vendors. Each of the named
 3   Defendants and each of the other approved participants voluntarily joined the AIF
 4
     Enterprise by submitting an application to be approved as a seller, servicer, or Fannie Mae
 5
     attorney network member. Upon approval each participant signed a letter of engagement
 6
     with Fannie Mae and thus agreed to, and did, participate in the conduct of the Enterprise
 7

 8
     and carried out its respective role in accordance with the specific guidelines and rules

 9   Fannie Mae implemented, including detailed rules as to how foreclosures of Fannie Mae
10   owned mortgages in default must proceed. The guidelines and other specific mandatory
11
     rules set mandatory time periods in which specific actions must be taken, reporting
12
     obligations of each participant back to Fannie Mae, and the penalties assessed for not
13
     meeting the specified time milestones. Each named Defendant was thus integral to the
14

15
     scheme.

16   70.     Fannie Mae and the servicers defendants knowingly authorized Malcolm Cisneros,
17   MTC, and other approved law firms/vendors to claim and collect fees that they know were
18
     unearned, unreasonable, and unnecessary. Fannie Mae and the servicers defendants
19
     knowingly authorized Malcolm Cisneros, MTC, and other approved law firms/vendors to
20
     claim and collect those fees by including them into invoices, reinstatement quotes, payoff
21
     quotes, and other documents sent to borrowers.
22

23   71.     The activities of Malcolm Cisneros and MTC Financial went far beyond the
24   rendition of routine professional services but were so intertwined with the MERS and AIF
25

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 1
     enterprises that they in fact operated, directed, or managed the enterprise and directed its

 2   conduct once a loan was referred to them for foreclosure.
 3   72.     The companies and individuals that comprise the AIF Enterprise are associated for
 4
     the common purpose of engaging in a unified and continuous course of conduct. The AIF
 5
     Enterprise conducts aggressive debt collection, speedy and collusive foreclosures or ‘loss
 6
     mitigation’ of defaulted Fannie Mae loans and in so doing defrauds borrowers into
 7

 8
     funneling unearned money to Defendants under the guise of inflated, unearned,

 9   impermissible and/or unconscionable fees and charges for default related services without
10   regard to whether those services were ever performed, permitted by law or contract, or
11
     necessary.
12
     73.     Upon information and belief, the AIF Enterprise has operated since no later than the
13
     middle of 2008 and continues to this day.
14

15
     74.     Both the MERS and the association-in-fact enterprises are engaged in and affect

16   interstate commerce as each involves transfer of large amounts of money between states,
17   targets borrowers across many states, and frequently uses the mails, telephones, facsimile,
18
     the internet, and electronic sharing platforms like MERS®, VedroeScape, LPS Desktop,
19
     and BlackNights Desktop..
20
     The Fraudulent Schemes
21
     1.      The MERS four-party deed of trust scheme
22

23   75.     A 1994 study, commissioned by members of the financial industry, concluded that
24   the mortgage industry would save $77.9 million a year in state and local filing fees
25

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 1
     associated with the need to record assignments each time notes are sold on the secondary

 2   market.
 3   76.     Fannie Mae, CitiMortgage, Ditech, ASIC and other members of MERSCORP Inc.,
 4
     devised and created a proprietary private mortgage registry -- MERS® -- which exists
 5
     solely because the Defendants and other members of the financial industry aspired to
 6
     circumvent what Defendants perceived to be the slow, expensive, and burdensome
 7

 8
     recording process required by state laws for the transfer and assignment of residential

 9   mortgage notes on the secondary market. MERS® is keeping track of approximately 31
10   million active loans.
11
     77.     To accomplish this cost-saving purpose MERSCORP Inc. and the members of the AIF
12
     Enterprise agreed to designate MERS Inc. as a common agent for the mortgage industry, and
13
     to use the sham corporation to serves as surrogate mortgagee in the county land records
14

15
     solely as a nominee for the owner of the mortgage loan and the beneficial interest in the

16   security interest.
17   78.     MERSCORP Inc. and his president have acknowledged that this system changed the
18
     traditional three-party deed of trust into a four-party deed of trust, wherein the traditional role
19
     of the DOT beneficiary is split between the lender, who holds the beneficial rights under the
20
     security instrument and is entitled to enforce the debt, and MERS Inc., who acts as the
21
     contractually agreed upon ‘nominee’ for the lender and its successors and assigns and
22

23   appears in the public record. MERS Inc. never owns or holds the notes, debts, or DOTs.
24   Further MERS Inc. does not and cannot receive a payment under the note. Instead MERS Inc
25
     is paid a flat transaction and membership fee by the 3000 entity that use its services.
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 1
     79.     Accordingly, during the lifetime of the mortgage, the beneficial ownership interest or

 2   servicing rights could be transferred among MERS® members (MERS assignments), but
 3   these assignments are not publicly recorded; instead MERS® tracks transfers of servicing
 4
     rights and beneficial ownership interests in mortgage loans by using a permanent 18-digit
 5
     number called the Mortgage Identification Number.
 6
     80.     By using MERS Inc. Fannie Mae and its servicers circumvent recordation costs when
 7

 8
     notes and/or servicing rights are sold before and after default and effectively conceal the

 9   ownership of the debt.
10   81.     The MERS scheme is legally deficient. Using MERS Inc as the surrogate beneficiary
11
     purports to work by separating the promissory note from the mortgage. Under California law,
12
     however, the note and the mortgage are inseparable. As such, a transfer of a note carries the
13
     mortgage with it, but the assignment of a mortgage without the note is a nullity. The four-
14

15
     party MERS transaction in this case is as follows:

16

17

18

19

20

21

22

23

24

25

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 1

 2

 3                                                                     The Boxes in Black represent
                                                                       parties with recorded
 4                                                                     interests up to 2 Oct 2014,
                                                                       when Jessie Manos’s deed
                                                                       was placed of record.
 5

 6

 7

 8

 9

10

11   2.      The Intervening Assignments Scheme
12   82.     When a lender-seller retains the servicing rights, the lender-seller remains the named
13
     creditor in the public record. When the servicing rights over non-MERS loans are
14
     subsequently sold to a different servicer Fannie Mae requires the execution of two separate
15
     corporate assignments: a recorded assignment of the mortgage or deed of trust from the
16

17   assignor-servicer to the new servicer and an unrecorded assignment of the same mortgage or

18   deed of trust from the new servicer back to Fannie Mae. As a result, the public record purport
19   to reflect a transaction in which the lender of record conveys its full interest and title in the
20
     debt, note, together with the security instrument, to the new assignee-servicer which thereby
21
     becomes the new mortgagee or beneficiary of record. The public record does not show that
22
     the two entities are merely servicers of the loan and that Fannie Mae actually owns the note,
23

24   debt, and the beneficial interest in the security instrument. No change in ownership of the

25   underlying debt, loan, or security interest is intended by these intervening assignments and,
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 1
     since the assignor-servicer has nothing to convey other than its mortgage servicing rights, no

 2   change in loan and debt ownership occurs. The corresponding unrecorded (but recordable)
 3   assignment held by Fannie Mae confirms Fannie Mae’s unbroken chain of title. Servicers use
 4
     these recorded assignments to claim that as the lender of record or the assignee of the note
 5
     and DOT they have authority to foreclose in their own name and thus keep Fannie Mae’s
 6
     ownership of the debt, note, and mortgage secrete and insulate the GSE from having to deal
 7

 8
     with borrowers or aggrieved parties.

 9   83.     From its inception the mortgage industry routinely foreclosed in the name of MERS
10   Inc. as the ‘beneficiary’ of record. In late 1990s MERSCORP Inc. amended the rules for
11
     the use of MERS Inc. as a surrogate beneficiary, to require that when foreclosing in the
12
     name of MERS Inc. the original note had to be produced, held by the servicer/lender
13
     managing the foreclosure, and made available for inspection to the borrower or the court.
14

15
     After media reports exposed the fact that servicers and law firms in Florida were relying

16   excessively on lost note affidavits to skirt the note production requirement, MERSCORP
17   prohibited the use of lost note affidavits in Florida and in 2006 extended the rule
18
     nationwide.
19
     84.     To avoid these rules the AIF Enterprise agreed that servicers would deregister
20
     Fannie Mae loans from the MERS® registry prior to initiating foreclosure proceedings.
21
     To replace MERS Inc. in the public record, the servicer (or a vendor of the servicer)
22

23   would execute an assignment of the deed of trust to itself. One of its employee or a third
24   party using the name of a MERS certifying officer signed those assignments. The
25
     assignment purports to convey to the servicer all rights, titles, and interests under the
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 1
     security instruments even though, according to the mortgage contract, MERS Inc. only

 2   holds ‘legal title’ as the nominee to the interest granted by the Borrower in the Security
 3   Instrument. The public record does not disclose the actual interest of either Fannie Mae or
 4
     the servicer. No change in ownership of the underlying debt, loan, or security interest is
 5
     intended by these bogus intervening assignments and, since MERS Inc. has no beneficial
 6
     interests or any other interest in the debt to convey to the servicer, no change of ownership
 7

 8
     over the debt or note occurs. The language of the assignments state otherwise and thus

 9   contains deliberate misrepresentations and/or false statements
10   85.     Since California law does not require assignments to be recorded, members of the
11
     MERS and AIF Enterprises record those sham assignments solely to furthering their
12
     schemes and to deceive the borrowers and the public as to the identity of the entity that
13
     actually has the right to enforce the debt, and thus has the authority to authorize and direct
14

15
     the initiation of a non-judicial foreclosure.

16   3.      The Holder by Fiat Scheme
17   86.     All named defendants knew that each Fannie Mae owned and/or guaranteed loan is
18
     payable to a named entity – Fannie Mae—and as such was not a bearer paper. All named
19
     defendants thus knew that transfer of such notes requires negotiation and a physical
20
     delivery to the assignee.
21
     87.     All named defendants also knew that a foreclosing party must possess and hold both
22

23   the note and the mortgage securing the note and have the right to payment under the note in
24   order to have authority to foreclose on the mortgage lien.
25

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 1
     88.     In order to avoid the requirements of state law pertaining to real estate transactions,

 2   negotiable instruments, and foreclosures, defendants devised a new form of a holder status
 3   applicable only to members of the AIF Enterprise and included it in the Fannie Mae’s
 4
     Servicing Guide:
 5
             Fannie Mae is at all times the owner of the mortgage note, whether the note is in
 6           our portfolio or whether we own it as trustee for an MBS trust. In addition, Fannie
             Mae at all times has possession of and is the holder of the mortgage note, except
 7
             in the limited circumstances expressly described below.
 8           [...]
             In some jurisdictions, only the "holder" of the note may conduct a foreclosure. In
 9
             any jurisdiction in which our servicer must be the holder of the note in order to
10           conduct the foreclosure, we temporarily transfer our possession of the note to
             our servicer, effective automatically and immediately before commencement
11
             of the foreclosure proceeding. When we transfer our possession, our servicer
12           becomes the holder of the note during the foreclosure proceedings. If the
             borrower reinstates the loan or the servicer ceases to service the loan for
13           Fannie Mae for any reason, then possession of the note at that time
14           automatically reverts to Fannie Mae and the note must be returned to the
             document custodian. At that time, Fannie Mae also resumes being the holder,
15           just as it was before the foreclosure proceedings. The transfer of our possession,
16
             and any reversion of possession to us are evidenced and memorialized by our
             publication of this paragraph. This Guide provision may be relied upon by a
17           court to establish that the servicer conducting the foreclosure proceeding has
             possession, and is the holder, of the note during the foreclosure proceeding unless
18
             the court is otherwise notified by Fannie Mae.
19
     89.     The Servicing Guide thus establishes that, as the servicer or subservicer conducting
20

21   the foreclosure, servicers like Ditech, CitiMortgage, Trustee Corps etc., receives ‘on paper

22   only’ a temporary transfer of constructive possession of the note -- automatically and
23   immediately before commencement of the foreclosure proceeding -- by virtue of “the
24
     publication of this paragraph.” This holder-by-fiat is not recognized by the California
25

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 1
     statutory foreclosure scheme as it does not entitle the foreclosing servicer to receive a

 2   payment of the debt and is a per se deceptive and misleading business and collection
 3   practice: the California Supreme Court admonished that California law allows “only the
 4
     institution entitled to payment [under the note to] enforce the debt by foreclosing on the
 5
     security.” See Yvanova, 62 Cal.4th at 961.
 6
     4.      The Unlawful Fees Scheme
 7

 8
     90.     When loans are accelerated Defendants, work together to maximize default fees

 9   revenue before, during, and after the foreclosure sale, including by unlawfully imposing
10   collection costs as follows:
11
     A.      Fannie Mae approved law firms and trustees assess borrowers flat legal fees for each
12
     foreclosure without regard to whether any services were performed and, in addition, would
13
     assess fees for a myriad of bogus default related services by sham affiliated companies. In
14

15
     2008 the fee for California foreclosures was $650.00 per initiated foreclosure; in 2016 the

16   amount was $1000.00 each. These amounts are in addition to ‘costs’.
17   B.      Defendants knew that the standard Fannie Mae promissory note allows only a single
18
     late fee to be added to any individual monthly payment prior to acceleration of the debt; no
19
     late fees are authorized under the mortgage contract or California law after acceleration.
20
     Defendants also knew that the mortgage contract does not allow for the pyramiding of late
21
     fees. Yet, Defendants routinely and uniformly included such impermissible fees in monthly
22

23   statements, reinstatement quotes, and payoff demands and sent them to borrowers, such as
24   Mr. Manos and Jessie Manos via the U.S. mails and fax.
25
     5. The Force-Placed Insurance Scheme
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 1
     91.     All Fannie Mae owned mortgages contain an identical force-placed insurance clause

 2   permitting the Lender to purchase such insurance to protect its interest in the collateral
 3   secured by the deed of trust when the borrower’s insurance lapses.
 4
     92.     The "Lender" is named in each mortgage agreement (e.g., MetroCiti is identified as
 5
     the ‘Lender’ in the Manos note and deed of trust.)
 6
     93.     All notes also provide that any other person who “takes the note by transfer and who is
 7

 8
     entitled to receive payments under the note” falls within the definition of ‘Lender’. Either the

 9   MBS trust or Fannie Mae is thus the only ‘Lender’ with discretion and contractual authority
10   to purchase and impose force-placed insurance under the mortgage contract with the
11
     borrower.
12
     94.     Fannie Mae, as the creditor and lender, never purchases force-placed insurance under
13
     the mortgage contracts.
14

15
     95.     The "Loan Servicer" is treated as a separate entity in the mortgage agreement. When

16   Ditech acts as a servicer for Fannie Mae-owned loans, Ditech is not the ‘Lender’ as the term
17   is defined in the promissory notes because it does not hold the notes and is not entitled to
18
     receive payments for itself.
19
     96.     Despite the unambiguous language of the promissory notes, Fannie Mae, its servicers,
20
     and its specialty insurers such as ASIC, devised and have maintained a scheme since at least
21
     2004 to create a new credit transaction to fund the purchase of high priced force-placed
22

23   insurance and insurance not required by law or by the mortgage contracts in order to
24   financially benefit default servicers.
25

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 1
     97.     Pursuant to the scheme, the servicers enter into exclusive agreements with force-

 2   placed insurance providers such as ASIC and purchase master policies for their entire
 3   servicing portfolio.
 4
     98.     ASIC or another such insurer monitors the portfolio for lapses in borrower coverage.
 5
     99.     Once a purported lapse is identified, ASIC or an affiliate sends notices to each
 6
     borrower, on letterhead from the servicer, asking for proof of insurance and stating that
 7

 8
     insurance will be “purchased” and force-placed if voluntary coverage is not confirmed. If a

 9   lapse continues or proof of insurance is not submitted, the insurance agent, again using the
10   servicers letterhead, notifies the borrower that insurance is being force-placed at his or her
11
     expense and issues an insurance certificate pursuant to the master policy. Ditech or Citi is
12
     named as the loss payee.
13
     100. The notices sent to borrowers are done pursuant to an automated system
14

15
     used to generates notices at predetermined times. No individualized underwriting ever takes

16   place for the force-placed coverage.
17   101. ASIC automatically places insurance on the property even if the borrower disputes it,
18
     already had purchased insurance, or is not required to have the insurance foisted on him/her.
19
     102. Once coverage is forced on the property, the servicer pays ASIC or another LPI
20
     vendor and charges the borrower for the entire payment, which is either deducted from the
21
     borrower’s mortgage escrow account or added to the balance of the borrower’s loan. If a
22

23   borrower does not have an escrow account, the servicer creates an escrow account with a
24   negative balance and charges the borrower to bring the balance to zero.
25
     103. Ditech and Citi do not disclose to borrowers that when they ‘pays’ the premiums to
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 1
     ASIC or another, the insurer or one of its affiliates then remits back a set percentage of each

 2   payment to a shell company created by the servicer or its corporate parent to receive
 3   “commissions” under the scheme and to circumvent the restrictions imposed on illegal
 4
     kickbacks by federal consumer protection laws. The illicit payments are ultimately funneled
 5
     to the servicers.
 6
     104. Under this highly profitable force-placed insurance scheme, Ditech and Citi have an
 7

 8
     incentive to purchase high cost force-placed insurance policies on a borrower’s

 9   property because the higher the cost of the insurance policy, the higher the commission
10   received.
11
     105. The amounts charged to borrowers are also inflated by the interest that accrues on the
12
     amounts charged for force-placed coverage. Once Ditech and Citi add the cost of the high-
13
     priced premium to a homeowner’s mortgage balance, it increases the interest paid over the
14

15
     life of the loan.

16   106. The premiums on such force-placed insurance policies generally cost between five and
17   ten times more than what the borrower was originally paying or what the borrower could
18
     obtain on the open market.
19
     107. The force-placed insurance is added regardless of whether the consumer needs it,
20
     wants it, or disputes it.
21
     Pattern of racketeering activity
22

23   108. At all times relevant to this complaint, in violation of 18 U.S.C. § 1962(c), Defendants
24   conducted the affairs of the two enterprises listed above through a pattern of racketeering
25
     activity, as defined in RICO, 18 U.S.C. § 1961(5), by virtue of the conduct described.
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 1
     109. A person commits mail fraud whenever that person, having devised any scheme to

 2   defraud, uses the mail or any private or commercial carrier while executing that scheme. (18
 3   U.S.C. § 1341). Any mailing that is incidental to an essential part of the scheme satisfies the
 4
     mailing element, even if the mailing itself contains no false information.
 5
     110.   A person commits wire fraud whenever that person, having devised any scheme to
 6
     defraud, transmits or causes to be transmitted by means of wire, radio, or television
 7

 8
     communication in interstate or foreign commerce, any writings, signs, signals, pictures or

 9   sounds for the purpose of executing that scheme. (18 U.S.C. § 1343).
10   111. Defendants each engaged in two or more acts of mail and/or wire fraud within the past
11
     ten years.
12
     Citi Mortgage
13
     112. At the time he refinanced Mr. Manos declined to establish an escrow account and
14

15
     elected to pay the property taxes and insurance on his own. In 2010 Mr. Manos experienced

16   financial difficulties. He was late making some monthly mortgage payments and did not pay
17   the property taxes due for 2010.
18
     113. On 14 September 2010 Citi advanced and paid $1,588.00 for lender placed
19
     insurance on the Foothill property. On 13 September 2011 Citi advanced
20
     and paid $14,821.68 for property taxes on the Foothill property. Mr. Manos and Citi
21
     agreed to spread the amount over a 12-month period with a monthly payment of
22

23   $1,208.21. The shortage was later spread over 48 months starting from 1 November 2011.
24   Citi assessed interest on the escrow advances. Mr. Manos continued to pay his insurance
25
     and taxes thereafter and Citi made no further advances for insurance or taxes.
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 1
     114. After Mr. Manos disputed some of the amounts assessed, on 1 April 2014 R

 2   Greene, an employee of Citi’s Customer Service Department, mailed Mr. Manos a letter
 3   in which R Greene stated that “we have reviewed your account and determine (sic) that
 4
     we analyzed your escrow account on 09/12/11 and a shortage of $17,070.07 was created
 5
     due to taxes and insurance being paid from your account on your behalf.” At the time R
 6
     Greene made these representations she knew or should have known that the amount
 7

 8
     advanced in 2010 and 2011 was $16,409.68, not $17,070.07. She also knew that the

 9   amount paid for insurance was grossly inflated and resulted in the receipt of a commission
10   by Citi. She further advised Mr. Manos in the letter that “RESPA guidelines allow
11
     CitiMortgage to charge interest for advancing these funds on your behalf. Interest will be
12
     charged on the outstanding advance amount. The interest on the advance will be the Note
13
     rate applicable to your mortgage loan.” R Greene knew or should have known that the
14

15
     inflated amount of the escrow advance had caused inflated interest to have been calculated

16   and had caused overpayment by Mr. Manos. Yet, R Greene and Citi refused to credit the
17   overpaid amount and continued to add such inflated and unnecessary amount to the loan
18
     as devised by the AIF Enterprise.
19
     115. The statements in the 1 April 2014 letter were false, misleading, and/or contained
20
     material omissions and were made to induce Mr. Manos to rely on them to his detriment.
21
     Mr. Manos relied on those statement and paid the assessed fees and the grossly inflated
22

23   LPI insurance.
24   116. As compensation for its debt collection activities on delinquent loans owned by
25
     Fannie Mae, Citi retained all late payment charges and all ‘corporate advances’ and
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 1
     other similar charges that are ultimately collected from borrowers regardless of their

 2   purpose, scope, or reasonableness.
 3   117.   According to the breach letter sent by Citi to Mr. Manos on 4 June 2012, the cure
 4
     amount of $8,170.56 included $1,062.50 in late charges, $121.50 in delinquency fees, and
 5
     $1,254.70 in “other fees” (Exhibits P.00032) The letter directed Mr. Manos to send the
 6
     “past due amount” and gave Citi’s address in Des Moines. The Letter was sent by
 7

 8
     Lobryant Torrence on behalf of Citi. A partial accounting sent to Mr. Manos by Citi at a

 9   later date that included charges up to December 2013, shows that Citi had assessed
10   $122.23 in escrow advances and servicing charges and $175.50 in delinquency fees for
11
     property inspections. No other fees appear on the account statement. The 4 June 2012
12
     letter, thus, misrepresented the amount of the debt owed by $886.27 and deliberately
13
     omitted an explanation for the nature of the ‘other fees’ added to Mr. Manos’s loan.
14

15
     118. The statements in the 4 June 2012 letter were false, misleading, and/or contained

16   material omissions and were made to induce Mr. Manos to rely on them to his detriment.
17   Mr. Manos relied on those statement and paid the assessed fees.
18
     119. According to the periodic statement sent by Citi to Mr. Manos via USPS in August
19
     2013 Citi had assessed and requested payment of the following additional charges:
20
     $1,339.70 in servicing fees and $1,422.31 in late charges. From January 2014 until July
21
     2014 Citi assessed $537.42 in additional post-acceleration late fees. Mr. Manos paid some
22

23   of the assessed charges; all unpaid fees and advances were added to the balance of Mr.
24   Manos’s loan. In its last periodic statement mailed to Mr. Manos, and dated 16 January
25

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 1
     2015 Citi, represented to Mr. Manos that he had a positive escrow balance of $303.41, an

 2   unapplied balance of $54.15, and principal balance of $287,482.20. (Exhibits at p. 0034)
 3   120. Yet, the ARM interest reset notice sent by Ditech to Mr. Manos on 6 July 2015
 4
     reported the unpaid balance of the loan as $280,425.01. The 16 January 2015 periodic
 5
     statement thus deliberately misrepresented the true balance of Mr. Manos’s loan and
 6
     increased the loan principal by $7,057.19 before transferring the MSR to Ditech.
 7

 8
     121. On or about 10 September 2012 as required by Fannie Mae and MERS rules

 9   CitiMortgage prepared and recorded an assignment from MERS, as nominee for MetroCiti
10   Mortgage LLC, to itself purporting to assign the Manos deed of trust including “any rights
11
     due or to become due thereon” to CitiMortgage, Inc. (Exhibits at p. 0064) The assignment is
12
     signed by Kimberly Goeltz as a ‘certifying officer’ for MERS Inc. when in fact she was an
13
     employee of Citi or one if its vendors. At the time of executing and recording the intervening
14

15
     assignment both Kimberly Goeltz and CitiMortgage knew that Fannie Mae neither intended

16   to nor did it ever sell, assign, or negotiate the Manos note or deed of trust to CitiMortgage.
17   The intervening assignment was intended solely to make CitiMortgage the trust beneficiary
18
     in the public record in anticipation of foreclosure. However, since no refer to foreclosure was
19
     ever made, the holder by fiat transfer of constructive possession had never been made to Citi.
20
     As between Citi and Fannie Mae at the time of the assignment Citi only held and owned the
21
     MSR over the Manos loan.
22

23   122. Both Kimberly Goeltz and CitiMortgage knew that MERS Inc. never held the Manos
24   loan and only had a legal title to the security instrument. MERS Inc. could assign to Citi only
25
     such legal title and nothing more. The statement that MERS assigned to Citi “any rights due
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 1
     or to become due thereon” on the note and DOT was false, as MERS Inc. never had any

 2   rights: all rights under the DOT flow to the lender-beneficiary.
 3   Ditech
 4
     123. In February 2015 Ditech caused to be prepared and sent to Mr. Manos a monthly
 5
     mortgage statement alleging that Mr. Manos owes a past due amount of $2,913.13. The
 6
     statement was false: Ditech knew or should have known that this amount was not owed, but
 7

 8
     had been already paid as shown by the last statement sent to Mr. Manos by Citi as explained

 9   above; Ditech had not right to request that Mr. Manos pay the amount.
10   124. On 1 August 2015 Ditech sent to Mr. Manos a monthly statement representing that the
11
     amount due on 1 August 2015 was $8,339.53 and requested a payment of the amount. The
12
     notice directed Mr. Manos to detach the payment slip located at the bottom of the notice and
13
     return it with his payment. On or about 13 August 2015 Defendant Ditech accelerated the
14

15
     Manos loan. In response to a dispute initiated by Mr. Manos on 19 August 2015 “Customer

16   Service Green Tree /lfs/49/”, on behalf of Ditech, represented that the amount due was
17   $8,502.57. Ditech and its employee “Customer Service Green Tree /lfs/49/” knew that the
18
     correct amount would have been $8,421.05 not $8,502.57, yet provided no explanation for
19
     the discrepancy and the additional charge added to Mr. Manos’s account.
20
     125. Defendant Ditech knew that the promissory note allows only a single late fee to be
21
     added to any individual monthly payment prior to acceleration of the debt; no late fees are
22

23   authorized under the mortgage contract or California law after acceleration. Defendant
24   Ditech also knew that the mortgage contract does not allow for the pyramiding of late fees.
25

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 1
     Yet, in monthly statements sent to Mr. Manos after 2 September 2015 Defendant deliberately

 2   inflated the monthly payments due as follows:
 3         a. After 2 September 2015 Defendant requested that Mr. Manos make a payment to
 4
     Green Tree for the monthly payment due for November 2015 in the amount of $2,770.64 and
 5
     then in 3,097.57. The correct amount prior to acceleration should have been $2,769.67 for
 6
     the month in which the payment was due and $2,851.19 with the late fee thereafter.
 7

 8
           b.      After 2 September 2015 Defendant requested that Mr. Manos make a payment

 9   to Green Tree for the monthly payment due for December 2015 in the amount of $2,770.64,
10   then for $2,853.01 and $3,179.94. The correct amount prior to acceleration should have been
11
     $2,769.67 for the month in which the payment was due and $2,851.19 with the late fee
12
     thereafter.
13
           c.      After 2 September 2015 Defendant requested that Mr. Manos make a payment
14

15
     to Green Tree for the monthly payment due for January 2016 for $2,853.01 and then for

16   $3,262.31. The correct amount prior to acceleration should have been $2,769.67 for the
17   month in which the payment was due and $2,851.19 with the late fee thereafter.
18
     126. From March 2015 to June 2016 Ditech represented in each monthly mortgage
19
     statement that the principal amount of Mr. Manos’s loan was $283,462.75. The statement
20
     was false: Ditech knew that the true and correct amount of the principal balance was
21
     $280,425.01, but deliberately inflated the debt by 3,037.74 for its own financial benefit.
22

23   127. On 19 June 2015 Ditech responded to Mr. Manos’s FDCPA dispute and identified
24   Fannie Mae as the owner of “the account and the Note”. On 29 June 2015 Ditech corrected
25
     the information provided on 19 June 2015 by identifying the owner of the mortgage loan as
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 1
     Fannie Mae in its capacity as “Trustee” for a “Trust Identifier: 748643.” On 4 November

 2   2015, however, Ditech falsely represented to Mr. Manos that “the Deed of Trust and Note
 3   were conveyed to Ditech from CitiMortgage at acquisition.” In fact, Ditech never received
 4
     any ownership or holder status over the note from CitiMortgage because CitiMortgage had
 5
     nothing to convey to Ditech, having already divested itself of all interests in the Manos debt,
 6
     loan, and mortgage during the MSR sale to Fannie Mae. Ditech also asserted that it “holds
 7

 8
     the note and will not issue any lien release until the debt is satisfied.” At the time Ditech

 9   made these false and/or misleading statements Ditech knew or should have known that either
10   the MBS trust or Fannie Mae owned and held the Manos note and deed of trust after the
11
     repurchase. No foreclosure had been initiated against the Foothill property at the time Ditech
12
     made these representations and no “holder-by-fiat” transfer had yet occurred.
13
     128. Ditech knew that John Manos had elected to pay, and did pay, for insurance on the
14

15
     Foothill property.

16   129. After John Manos quit-claimed his interest in the Foothill property to his daughter
17   Jessie Manos, Tara Borrelli obtained property insurance for the Foothill property. A policy
18
     with Farmers Insurance effective 20 November 2015 provided coverage for over $400,000
19
     on the Foothill property. The charge for the policy was $782.45 for the premium and $12.00
20
     for fees. (Exhibits at p. 42)
21
     130. On 19 December 2015 Ditech and ASIC force-placed a lender policy on the Foothill
22

23   property that provided coverage for $206,000. The Defendants assessed $1,202.00 for the
24   force-placed insurance and added this new credit transaction to the Manos loan.
25

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 1
     131. This Court found that the ASIC police was for an earthquake insurance. However, no

 2   such insurance is required under the mortgage contract, California law, or published Fannie
 3   Mae Guidelines. (Exhibits at pp. 0098)
 4
     132. Ditech made the false statements described above and used the US mail to deliver
 5
     them to Mr. Manos to obtain from him money in furtherance of the AIF Enterprise and
 6
     pursuant to the scheme described in this complaint.
 7

 8
     133. The acts described in paragraphs 123-30 constitute false, misleading, and/or deceptive

 9   representations. Defendant Ditech made these representations with knowledge of their falsity
10   or with such utter disregard and recklessness as to whether they were true or false that
11
     knowledge may be inferred.
12
     134. Plaintiffs believe and hereby allege that, as required by the Fannie Mae servicing
13
     guide, when Green Tree obtained the default servicing rights over the Manos loan Green
14

15
     Tree executed a corresponding assignment of the deed of trust back to Fannie Mae. This

16   assignment from Green Tree to Fannie Mae was never recorded, but divested Green Tree of
17   any legal or equitable rights over the note and deed of trust [hereinafter ‘Ditech unrecorded
18
     assignment’].
19
     135. To memorialize the intervening transfer of default servicing and collection rights, on
20
     or about 27 February 2015 an outsourcing entity acting on behalf of Green Tree prepared and
21
     recorded a corporate assignment of deed of trust purporting to “convey, grant, assign,
22

23   transfer, and set over” the Manos deed of trust together “with all rights, title and interest
24   secured thereby, all liens, and any rights due or to become due thereon” from CitiMortgage
25
     to Green Tree. (Exhibits at p. 0067) At the time the corporate assignment of deed of trust was
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 1
     executed and recorded CitiMortgage was neither the owner nor the holder of the Manos note

 2   and deed of trust, and therefore had nothing to convey, assign, or transfer to Green Tree.
 3   Further at the time the corporate assignment of deed of trust was executed and recorded
 4
     CitiMortgage had not servicing rights to sell, assign, or transfer to Green Tree, the servicing
 5
     rights having been re-sold to Fannie Mae in 2014. At the time the bogus assignment of deed
 6
     of trust was executed and recorded both CitiMortgage and Green Tree knew that no
 7

 8
     ownership over the deed of trust was transferred and none occurred. At the time the bogus

 9   assignment was executed, and recorded CitiMortgage and Green Tree knew that the loan,
10   note, and deed of trust were owned and held by Fannie Mae. Yet, it sent the assignment
11
     containing false statements and material omissions to the Los Angeles recorder’s office via
12
     the US mail or electronically in furtherance of the schemes described above.
13
     Malcolm Cisneros and MTC Financial
14

15
     136. In June 2016 Mr. Manos requested information and a payoff amount from MTC

16   Financial Inc. d/b/a Trustee Corps. At the time Mr. Manos made the request, he did not know
17   that 2016 Malcolm Cisneros and MTC Financial Inc. are related entities that collect debt and
18
     foreclose on security interests using the d/b/a ‘Trustee Corps’.
19
     137. He also did know that from January 2016 to the present Trustee Corps has acted as the
20
     purported substitute trustee for the Manos deed of trust while at the same time representing
21
     Fannie Mae as foreclosure counsel. In such capacity and pursuant to its contractual
22

23   obligation with Ditech, Malcolm Cisneros/Trustee Corps also acts as a default servicer and is
24   responsible for and actually performs all servicing functions for the loan from the date of
25
     foreclosure referral until the final resolution of the delinquency, including but not limited to
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 1
     collecting payments from borrowers to reinstate, modify, or cure defaults; accepting,

 2   rejecting, and posting payments; imposing restrictions and limits on how, when, and in what
 3   form payments were to be made; accepting loan modifications; and preparing and issuing
 4
     reinstatement quotes and beneficiary statements, and communicating directly with the
 5
     debtors or purported debtors. These activities are incompatible with the limited and well-
 6
     defined duties of a trustee under a deed of trust under California law: section 2924 of the
 7

 8
     California Civil Code does not provide a trustee with collection or mortgage servicing

 9   authorities. A true trustee has solely the power and the corresponding duty to initiate and
10   conduct foreclosure proceedings on the property upon the trustor's default by recording
11
     mandatory notices, resulting in a sale of the property as provided by the California Civil
12
     Code. Any other activities taken to collect Fannie Mae’s debts constitute general debt
13
     collection rather than enforcement of security interests through non-judicial foreclosure.
14

15
     138. On 7 June 2016 Marisol Nagata Esq., the General Counsel of Trustee Corps sent Mr.

16   Manos a letter via the mail and represented to him that Trustee Corps is “unable to provide
17   loan information [Mr. Manos had] requested as Trustee Corps serves a nominal capacity as
18
     foreclosure trustee.” The statement was false. Pursuant to its contract with Fannie Mae and
19
     Ditech, Malcolm Cisneros/Trustee Corps was solely responsible to manage the Manos loan
20
     from the 28 December 2015 referral until the completion of foreclosure or cure of the
21
     default. In fact, the next day Malcolm Cisneros prepared and mailed to Mr. Manos the
22

23   precise payoff statement containing the information Mr. Manos had requested. Plaintiff
24   believes and hereby alleges that Ms. Nagata made the representations in the 7 June 2016
25
     letter because she knew that while acting as trustee under the DOT Trustee Corps’s general
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 1
     debt collection activities are not authorized by California law.

 2   139. On 9 June 2016 Trustee Corps sent to non-debtor, Ms. Jessie Manos, an unsolicited
 3   reinstatement demand for $40,299.54, which included debt allegedly owed in the amount of
 4
     $38,976.08; $743.82 in late charges; $84.89 in pending late charges; and corporate advances
 5
     in the amount of $494.75. Defendants knew that Ms. Jessie Manos is not a signatory to either
 6
     the note or deed of trust, does not owe any debt to either Fannie Mae or the MBS Trust, and
 7

 8
     did not request a reinstatement or payoff quote from any of the named Defendant.

 9   140. On 27 July 2016 Trustee Corps sent to non-debtor, Ms. Jessie Manos, a second
10   unsolicited reinstatement demand for $44,318.98, which included debt allegedly owed in the
11
     amount of $41,573.34; $828.71 in late charges; $84.89 in pending late charges; corporate
12
     advances in the amount of $494.75; mailing and recordation for $157.54; and title services
13
     for $225.00.
14

15
     141. Defendants knew that Ms. Jessie Manos is not a signatory to either the note or deed of

16   trust, does not owe any debt to either Fannie Mae or the MBS Trust, and did not request a
17   reinstatement or payoff quote from any of the named Defendant.
18
     142. At the time Trustee Corps requested the payment of $40,299.54 and $44,318.98
19
     Defendant Trustee Corps represented to Ms. Jessie Manos that “[y]ou must pay the total
20
     amount due stated in the Demand (in cash or cashier check only) on or before the expiration
21
     date to REINSTATE and/or PAY OFF this loan. Please review the attached documents for
22

23   specific payment instructions”.
24   143. The representations described in paragraphs 136-40 were false, misleading, and/or
25
     deceptive and contained material omissions. The debt stated in each letter was deliberately
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 1
     inflated by misrepresenting the amount of the principal due and seeking post-acceleration

 2   late fees. Further, the letter falsely stated that Ms. Manos, who is not the debtor, could
 3   reinstate and assume her father’s loan by paying the amount. Defendants made these
 4
     representations with knowledge of their falsity or with such utter disregard and recklessness
 5
     as to whether they were true or false that knowledge may be inferred.
 6
     144. The representations described in paragraph above were made to deceive Plaintiffs
 7

 8
     Jessie Manos and John Manos; to conceal Trustee Corps’s status as a debt collector; to

 9   receive payment of money, and to limit the application of the FDCPA to these Defendants.
10   The predicate acts were done in furtherance of the AIF Enterprise and in accordance with the
11
     five schemes to defraud devised by Defendants and described above.
12
     145. In carrying out these schemes and artifices Defendants used and continue to use the
13
     mails to deliver assignments of deeds of trusts containing material misrepresentations of fact
14

15
     to county recorders and to the borrowers and to deliver to borrowers monthly statements,

16   reinstatement quotes, and payoff demands. A portion of the money Defendants attempted to
17   collect through these payment demands was not due; a portion constituted fees not permitted
18
     by law and/or applicable contractual agreements; and a portion constituted expenses not
19
     actually incurred by Defendants. Defendants also used electronic communications such as
20
     email, fax, and electronic software platforms like CoreLogic, First American Mortgage
21
     Solutions, Vendorscape, and LPS Desktop to deliver bogus assignments of deeds of trust
22

23   signed by robo-signers and reinstatement quotes and payoff demands containing unearned,
24   prohibited, or inflated fees and costs.
25
     146. At all times relevant to this complaint it was reasonably foreseeable to Defendants that
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 1
     the mails and/or wires would be used in furtherance of the five fraudulent schemes, and as

 2   alleged above.
 3   147. The nature and pervasiveness of the MERS and AIF Enterprises necessarily involved
 4
     frequent and repeated mail and/or wire transmissions during the period from mid-2008 to the
 5
     present. The precise dates of every transmission cannot be alleged without access to the
 6
     books and records of Defendants and their agents. Plaintiffs believe and hereby allege that
 7

 8
     for each Fannie Mae owned loan referred for foreclosure to Trustee Corps, Malcolm

 9   Cisneros, or other law firms/trustees for which Ditech or CitiMortgage was not the original
10   lender Defendants performed the following acts: (1) Defendants recorded at least one bogus
11
     assignment of deed of trust to create the paper trail to allow foreclosure in the name of the
12
     default servicer; (2) every month from default to resolution Defendants Ditech and
13
     CitiMortgage sent to each borrower a monthly statement containing post acceleration late
14

15
     fees, unearned “corporate advances,” and unlawful kickbacks disguised as “other fees”; (3)

16   Defendants charged each borrower the same fixed legal fees, adjusted upward annually, as
17   set by Fannie Mae; and (4) Defendants sent correspondence in the form of reinstatement
18
     quotes, payoff demands, loan modification agreements, or post foreclosure accounting
19
     statements in which the cumulative amount of the kickbacks and unearned fees were added
20
     to the original debt and charged as due to the Lender, i.e. Fannie Mae. Since Fannie Mae
21
     owns and holds over 28% of all U.S. mortgages there were likely over 50,000 such
22

23   transmissions during the relevant time period.
24   148. Each mailing, fax, and electronic transmission was an essential part of the scheme to
25
     funnel money to Defendants and to create the appearance of legitimacy through false and
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 1
     misleading statements. As detailed above, Defendants engaged in similar activities with

 2   respect to each member of the Class.
 3   149. Each named Defendant participated in the schemes to defraud knowingly, willfully,
 4
     and with a specific intent to accomplish the purpose of each scheme, namely to defraud
 5
     borrowers into funding kickbacks and to subsidize Defendants’ business model.
 6
     150. Each named Defendant was a common participant in the predicate acts. Their activities
 7

 8
     amounted to a common course of conduct, with a similar pattern and purpose, intended to

 9   deceive borrowers such as the named Plaintiffs and the putative class.
10   Injury to Plaintiffs and the putative class
11
     151. As a direct and proximate result of the violations of 18 U.S.C. §1962(c) by
12
     Defendants, Plaintiffs and the Class have been injured in their business or property within the
13
     meaning of 18 U.S.C. §1964(c).
14

15
     152. The inflated and/or unearned default related fees were added to borrowers’ debts and

16   accrued interest at the rates specified in the mortgage notes until paid in full. Defendants’
17   conduct had the direct result of depleting escrow accounts, causing borrowers to pay money
18
     they did not owe, creating additional debt.
19
     153. By concealing Fannie Mae’s ownership of the debts, loans, and mortgages Defendants
20
     denied borrowers the ability to deal with the holder of the note to resolve disputes that the
21
     servicers refused to acknowledge or correct or to take advantage of legal protections afforded
22

23   to them against creditors but not against agents and servicers. Where the homeowner does
24   need to know more about the loan to protect its interest, ignorance injures the borrower.
25
     Further, when misrepresentations, fraud, or irregularities had occurred, as shown by this
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 1
     case, the borrower cannot locate the party accountable and/or with authority to correct the

 2   irregularity. The borrowers lose their statutory rights as a direct result of defendants’
 3   schemes and activities and the ability to obtain refund of money unlawfully paid.
 4
     154. When Defendants and other members of the MERS and AIF Enterprises use the bogus
 5
     intervening assignment to foreclose or attempt to foreclose, they could not accomplish the
 6
     desired result absent the void assignments. Thus as the Yvanova Court explained, “[t]he
 7

 8
     identified harm—the foreclosure and the loss of their home—can be traced directly to [the

 9   foreclosing entity‘s] exercise of the authority purportedly delegated by the assignment,” an
10   authority they otherwise do not have. Further, the assignments recorded in furtherance of the
11
     schemes described above render title to property unmarketable. As a result, some borrowers
12
     lost their homes because Defendants deliberately failed to follow and/or manipulated the
13
     mandatory rules contained within the California foreclosure statutory scheme
14

15
     155. The amount of the unlawful debts Plaintiffs and the putative Class were compelled to

16   fund and pay is quantifiable and includes post-acceleration fees, inflated and unearned force-
17   placed insurance premiums retained by the servicers, excessive and unearned foreclosure
18
     legal fees of $725 or more, unearned fees for default related services that were not
19
     performed, not necessary, and/or not within the scope of the agreements between the parties
20
     to the mortgage contracts.
21
     156. Congress has already determined that the aggregate effect of an unlawful
22

23   kickback/referral arrangement, such as sham captive mortgage reinsurance arrangements and
24   price fixing agreements, is to unnecessarily inflate and artificially maintain the costs
25
     consumers pay for real estate settlement services. See 12 U.S.C. § 2601(b) (“It is the purpose
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 1
     of this chapter to effect certain changes in the settlement process for residential real estate

 2   that will result . . . (2) in the elimination of kickbacks or referral fees that tend to increase
 3   unnecessarily the costs of certain settlement services.”). Further, Congress has determined
 4
     that debtors must remain free from predatory collection practices. See 15 U.S.C § 1692
 5
     (“There is abundant evidence of the use of abusive, deceptive, and unfair debt collection
 6
     practices by many debt collectors. Abusive debt collection practices contribute to the number
 7

 8
     of personal bankruptcies, to marital instability, to the loss of jobs, and to invasions of

 9   individual privacy”) Defendants’ schemes were implemented to avoid statutory safeguards
10   meant to prevent the precise evils unleashed by Defendants on American home owners.
11
     157. The specific injuries identified above have been recognized as widespread in the
12
     mortgage lending marketplace. See generally OCC Settlement agreements.
13
     158. The injuries alleged herein were caused directly by Defendants’ commission of one or
14

15
     more of the predicate acts identified above.

16   159. Plaintiffs and the members of the putative class were the intended targets of
17   Defendants’ conduct and suffered injuries in fact.
18
     160. The injuries alleged herein were the preconceived purpose or specifically intended
19
     consequence of Defendants’ racketeering activities. The complex schemes were set in
20
     motion to obtain the precise injuries suffered by Plaintiffs and the putative class: speedy
21
     foreclosures that created illicit profits for the cottage industry involving default servicers,
22

23   foreclosure mills, default platform providers, and default servicers.
24

25

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 1
     161. Under the provisions of 18 U.S.C. §1964(c), Defendants are jointly and severally

 2   liable to Plaintiffs and the Class for three times the damages sustained, plus costs of bringing
 3   this suit, including reasonable attorney fees.
 4

 5
                                    Count Two: 18 U.S.C. § 1962(d)

 6
     162. Plaintiffs incorporate by reference all foregoing paragraphs.
 7
     163. 18 U.S.C. §1962(d) provides that it “shall be unlawful for any person to conspire to
 8

 9   violate any of the provisions of subsection (a), (b), or (c) of this section.”

10   164. Defendants have violated 18 U.S.C. §1962(d) by conspiring to violate 18 U.S.C.
11   §1962(c).
12
     165. Defendants formed the previously identified enterprises, within the meaning of 18
13
     U.S.C. §1961, for the common purpose of defrauding borrowers into paying money they did
14
     not owe under the mortgage contracts and foreclosing on their home without authority.
15

16   166. The two enterprises identified in Count One were engaged in, and its activities

17   affected, interstate commerce within the meaning of 18 U.S.C. §1962(c).
18   167. As set forth above, each Defendant conducted or participated, directly or indirectly, in
19
     the conduct of the affairs of the enterprises through a pattern of racketeering activity within
20
     the meaning of 18 U.S.C. § 1961(5) and in violation of 18 U.S.C. §1962(c).
21
     168. As set forth above, each Defendant was associated with the two enterprises and agreed
22

23   and conspired to violate 18 U.S.C. §1962(c) by participating, directly or indirectly, in the

24   conduct of the affairs of the two enterprises through a pattern of racketeering activity in
25   violation of 18 U.S.C. §1962(d). Defendants committed, and caused to be committed, a
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 1
     series of overt acts in furtherance of the conspiracy and to accomplish its objectives,

 2   including but not limited to the acts set forth herein in paragraphs 112 to 150 above.
 3   169. As a direct and proximate result of these overt predicate acts, Plaintiffs and the
 4
     putative Class have been injured in their business and property. Defendants injured Plaintiffs
 5
     and the Class by charging unlawful fees, collecting non-existent or inflated debts, and
 6
     foreclosing properties without authority.
 7

 8
     170. Under the provisions of 18 U.S.C. §1964(c) Defendants are jointly and severally liable

 9   to Plaintiffs and the Class for three times the damages sustained, plus the costs of bringing
10   this suit, including reasonable attorney fees.
11

12                           SECOND CAUSE OF ACTION
               VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT
13

14                           Count I: by John and Jessie Manos against
                                   Defendant Malcolm Cisneros
15

16
     171. Defendant Malcolm Cisneros is a law firm debt collector with a registered address at

17   2112 Business Center Drive, 2nd Floor, Irvine, CA 92612.
18   172. California Rules of Professional Conduct, Rule 1-100(1) define the term “law firm” as
19
     “a law corporation which employs more than one lawyer.” Malcolm Cisneros was registered
20
     as a law corporation with the California Secretary of State on 31 October 2001 with
21
     registration number C2400979. Its articles of incorporation state that the purpose of the law
22

23
     corporation is “to engage in the profession of law and any other lawful activities (other than

24   the banking or trust company business) not prohibited to a corporation engaging in such
25   profession by applicable laws and regulations.”
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 1
     173. Malcolm Cisneros’ shareholders, Mr. William Malcolm and Mr. Arturo Cisneros, are

 2   both attorneys registered and authorized to practice law by the California State Bar. In its
 3   official Linkedin profile Defendant Malcolm Cisneros represents that it employs between 51
 4
     to 200 employees. Based on public records, at least 11 of those employees are attorneys.
 5
     174. The principal purpose of the firm’s legal practice and ancillary business is the
 6
     collection of debts owed or alleged to be owed others and the enforcement of security
 7

 8
     interests through judicial and non-judicial foreclosure. The firm describes itself to the public

 9   at large as representing “financial institutions in connection with their defaulted consumer
10   and commercial loans.” Defendant Malcolm Cisneros collects debts owed or alleged to be
11
     others and conducts judicial and non-judicial foreclosures, including collection of deficiency
12
     judgments against consumers, out of its offices in California, Arizona, Nevada, Oregon,
13
     Colorado, Texas, and Washington.
14

15
     175. In the process of collecting debts owed another and during judicial and non-judicial

16   foreclosure proceedings Defendant Malcolm Cisneros also regularly uses the United States
17   mails, telephone, facsimile, and other instrumentalities of interstate commerce in its business
18
     as described above.
19
     176. Since January 2012 and to the present Malcolm Cisneros has been one of only nine
20
     law firms in the State of California approved by Fannie Mae, Freddie Mac, and numerous
21
     mortgage servicers and lenders to perform default related services for delinquent mortgage
22

23   loans and to conduct foreclosures, bankruptcy proceedings, loss mitigation, evictions, and
24   REO closings on behalf of its servicer clients. To be eligible for such a GSE approval the
25
     firm must establish that it has the capabilities and resources to handle a large volume of cases
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 1
     involving end to end loan servicing and default legal services for Fannie Mae and Freddie

 2   Mac owned loans.
 3   177. In each of the four years immediately preceding the initial filing of this Complaint
 4
     Malcolm Cisneros initiated at least 175 foreclosures in the state of California and received at
 5
     least 500 referrals of accounts in default for collection. Based on public records, in the four
 6
     years immediately preceding the initial filing of this Complaint Malcolm Cisneros has
 7

 8
     collected or attempted to collect on at least 5,478 consumers whose debts had been declared

 9   in default in the following jurisdictions: California, Nevada, Arizona, Oregon, Washington,
10   Hawaii, Colorado, and Texas. Malcolm Cisneros did not own any of the debt on which it
11
     attempted to collect but was acting as a law firm debt collector on behalf of the creditor.
12
     178. Fannie Mae and Freddie Mac require that foreclosures on their loans be performed
13
     solely by designated counsel within their respective retained attorney networks.
14

15
     179. Since 2008 Fannie Mae has maintained special foreclosure procedures for Arizona,

16   California, and Washington as follows: (Exhibits pp. 83, 85-86)
17         For nonjudicial foreclosures in Arizona, California, and Washington, servicers may
           continue to employ trustees of their choice. The Retained Attorney List will not
18
           include corporations that are authorized to conduct foreclosures as trustees in these
19         states. To facilitate continuity in the transition of files from foreclosure through
           REO closing, when a referral is made to a trustee in one of these three states, the
20
           servicer must require that the trustee obtain evidence of title for the foreclosure
21         from a Fannie Mae-approved title company, which will subsequently represent
           Fannie Mae’s interests as seller in connection with the REO closing. The list of
22
           Fannie Mae-approved title companies is posted on eFannieMae.com. All legal
23         matters in Arizona, California, and Washington, including judicial foreclosure
           proceedings, bankruptcy cases, and litigation, must be referred to attorneys on
24         the Retained Attorney List.
25

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 1
     180. Defendant Malcolm Cisneros, thus, engages in debt collection as described within this

 2   complaint while also using MTC Financial Inc., a related entity.
 3   181. MTC Financial Inc. is not a law firm and is not and cannot be designated as “counsel”
 4
     for any party. MTC Financial Inc. is, instead, an approved vendor for Fannie Mae as a
 5
     foreclosure trustee. While collecting on Fannie Mae debts and conducting non-judicial
 6
     foreclosure proceedings Malcolm Cisneros and MTC Financial Inc. use the d/b/a/ ‘Trustee
 7

 8
     Corps’ with an address at 17100 Gillette Ave, Irvine CA 92614.

 9   182. To the extent that Malcolm Cisneros has delegated some of its function to MTC, this
10   arrangement creates an agency relationship, with Malcolm Cisneros as the principal.
11
     183. In communications with Fannie Mae, Freddie Mac, servicers, and default servicers
12
     Malcolm Cisneros and MTC Financial Inc. identify themselves as either
13
           Trustee Corps/Malcolm Cisneros
14         17100 Gillette Avenue
15         Irvine, CA 92614

16         Or
17
           Trustee Corps (Freddie Mac and Fannie Mae Processing Office)
18         2112 Business Center Drive
19
           2nd Floor - Suite 201
           Irvine, CA 92612
20         Fannie Mae Retained Counsel in CA & AZ Freddie Mac Designated Counsel in
           AZ, CA & NV
21
           Default services in CA, NV, AK, AZ, CA, ID, MT, NV, OR, HI, TX & WA
22
     184. From 28 December 2015 to the present Defendant Malcolm Cisneros, as the
23

24
     mandatory ‘Fannie Mae retained attorney’ has acted as an independent contractor debt-

25

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 1
     collector attorney for Ditech, the purported servicer of the Manos loan, and for the debt

 2   owner, Fannie Mae.
 3   185. When a Fannie Mae loan is referred to Malcom Cisneros an employee of Defendant
 4
     sends to the debtor a Foreclosure Prevention Alternatives letter on Trustee Corps letterhead
 5
     informing the debtor that his/hers “loan has been referred for foreclosure” and directing the
 6
     borrower to contact the servicer. (Exhibits at pp.96) The first page of this initial letter states
 7

 8
     that the letter “is being sent to you by MTC Financial Inc. d/b/a/ Trustee Corps on behalf of

 9   the Servicer of your loan.” (Exhibits at pp.95) Defendant sent such an introductory letter to
10   Mr. Manos on 28 December 2015. On 28 December 2015 the trustee under the Manos DOT
11
     was still Fidelity National Loan Portfolio Solutions.
12
     186. When a debtor like Mr. Manos attempts to contact the ‘servicer’ post foreclosure
13
     referral, Ditech directs the debtor to contact Malcolm Cisneros. For other servicers,
14

15
     Defendant Malcolm Cisneros directs an employee to send a letter to the debtor using a

16   letterhead displaying the logo of Trustee Corps and the 17100 Gillette Avenue address in
17   which it states that “you are being provided this notice because of a search of the public
18
     records or from information provided by the Servicer of your loan. To obtain a payoff or
19
     reinstatement to cure the default, you will need to contact our office.” (Exhibits at pp.97)
20
     The address for written correspondence is designated as
21
           Trustee Corps
22
           Foreclosure Department
23         17100 Gillette Avenue
           Irvine, CA 92614.
24

25

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 1
     187. Specifically, as the it pertains to Mr. Manos, in May and early June 2016 he repeatedly

 2   called Ditech to ask for the amount due to cure and/or reinstate the loan. Ditech first
 3   informed Mr. Manos that it could not provide an estimate as to when such a quote could be
 4
     sent to Mr. Manos and later stated that Ditech could not provide the amounts at all. Ditech
 5
     directed Mr. Manos to request the amounts to cure, payoff, and/or reinstate from Malcolm
 6
     Cisneros by fax. Mr. Manos faxed the request to Malcolm Cisneros on 8 June 2016 as
 7

 8
     directed.

 9   188. On 8 June 2016 a payoff statement was generated and mailed to Mr. Manos in the
10   amount of $300,788.40, which included a principal balance of $283,462.75; $9,123.10 in
11
     interest through 6/18/2016 at 3.12500%; escrow in the amount of $5,644.69; attorney fees in
12
     the amount of $1,319.29; corporate advances in the amount of $494.75; and late fees in the
13
     amount of $743.82. Mr. Manos believes and hereby alleges that Malcolm Cisneros prepared
14

15
     the payoff statement and printed it or cause it to be printed on Ditech letterhead. The sole

16   purpose of the payoff statement and Malcolm Cisneros involvement was to obtain a payment
17   of money from John Manos for the benefit of Fannie Mae rather than enforce the purported
18
     security interest.
19
     189. Through the payoff statement Malcolm Cisneros requested a payment of attorney fees
20
     in the amount of $1,319.29 even though no litigation had been undertaken with respect to the
21
     Manos loan. Further, the inclusion of the $1,319.29 for attorney fees constitutes an “attempt
22

23   to collect, directly or indirectly” a debt from Mr. Manos and a “representation and/or means
24   in connection with the collection of any debt.” On 27 July 2016 ‘Trustee Corps’ sent a
25

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 1
     second reinstatement quote to Jessi Manos in which Defendant requested the payment of

 2   $954.75 as ‘trustee fees’.
 3   190. As part of the Fannie Mae attorney network Malcolm Cisneros agreed that
 4
           Nonjudicial Foreclosures: As with judicial foreclosures, the maximum allowable
 5         foreclosure fee for nonjudicial foreclosures is intended to cover all services that are
           typically required to be performed by foreclosure trustee or counsel in the
 6
           completion of a nonjudicial foreclosure resulting in title transferring from the
 7         borrower to the highest bidder at the foreclosure sale, in accordance with local law.
           These steps include:
 8
           1. Ordering title
 9         2. Reviewing title reports and exceptions
           3. Preparing all necessary legal papers to initiate the nonjudicial foreclosure
10         process, including Substitution of Trustee, Notice of Default, and Notice of Sale
11         4. Recording the necessary documents in the appropriate county recorder’s office
           5. Executing all steps necessary to obtain service of process on all persons entitled
12         to notice, including review of process server affidavits and referral and tracking of
13
           published notices
           6. Publishing and posting the requisite notices as required by local foreclosure law
14         7. Preparing all legal papers to conduct the foreclosure sale
15
           8. Conducting, or arranging for sheriff or other third party to conduct, the
           foreclosure sale
16         9. Preparing and filing a report of sale with the local court or recorder’s office,
           where required by local law
17
           10. Preparing all legal papers necessary to convey title to Fannie Mae or a
18         successful third-party bidder
19
     191. Further, Malcolm Cisneros further agreed that “the maximum allowable attorney or
20
     trustee fee for nonjudicial foreclosure proceedings does not include the costs involved in
21
     such a proceeding, such as title charges, filing fees, recordation fees, process server
22

23
     expenses, and publication costs, as applicable.”

24   192. At the time of the 8 June 2016 payoff statement no notice of sale had been mailed
25   or recorded.
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 1
     193. At the time of the 8 June 2016 payoff statement the true principal balance of Mr.

 2   Manos loan was $268,423.24. This amount was noted in Ditch’s loan servicing system
 3   and was readily available to Malcolm Cisneros.
 4
     194. Pursuant to section 2924d of the California Civil Code the base amount for attorney
 5
     fees could not exceed $1,046.06 to benefit from the presumption of reasonableness.
 6
     Pursuant to the published table of permissible attorney fees allowed by Fannie Mae,
 7

 8
     Malcolm Cisneros could not receive more than $1000.00 for any foreclosure conducted in

 9   California in 2016.
10   195. Mr. Manos hereby alleges that by the actions and omissions described above
11
     Malcolm Cisneros violated the Fair Debt Collection Practices Act as follows:
12
              A. The knowing and deliberate inclusion of an incorrect and inflated amount for
13
                 the principal balance of the loan of $283,462.75 instead of $268,423.24,
14

15
                 constitutes a false representation of the amount of the debt in violation of

16               section 1692e(2)(A).
17            B. The knowing and deliberate inclusion of $1319.29 in the 8 June 2016 payoff
18
                 demand as attorney fees when no legal services had been performed by
19
                 Malcolm Cisneros, constitutes a (1) false representation regarding services
20
                 and compensation which may lawfully be received by any debt collector for
21
                 the collection of a debt in violation of section 1692e(2)(B) and (2) an unfair
22

23               practice in violation of section 1692f(1).
24            C. Seeking to collect fees in excess of the base fee provided in California Civil
25
                 Code section 2924(d) and in excess of the Fannie Mae published allowable
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 1
                  compensation --when no legal services had been preformed --constitutes (1) a

 2                false representation regarding services and compensation which may lawfully
 3                be received by any debt collector for the collection of a debt in violation of
 4
                  section 1692e(2)(B) and (2) an unfair practice in violation of section
 5
                  1692f(1).
 6
              D. Concealing its role as a mandatory retained attorney from the Fannie Mae
 7

 8
                  retained attorney list and its relationship with MTC Financial Inc. by using

 9                the d/b/a/ Trustee Corps constitutes an unfair and deceptive practice and
10                means in connection with the collection of debts owed another in violation of
11
                  section 1692e and 1692f.
12
              E. Concealing the relationship between Malcom Cisneros and MTC Financial
13
                  Inc. in order to collect both attorney fees and trustee fees for the same work
14

15
                  constitutes an unfair and deceptive practice and means in connection with the

16                collection of debts owed another in violation of section 1692e and 1692f.
17   196. Malcolm Cisneros made the representations described above with knowledge of their
18
     falsity or with such utter disregard and recklessness as to whether they were true or false that
19
     knowledge may be inferred.
20
     197. The acts described in paragraph 195 were done intentionally and maliciously to
21
     deceive Plaintiffs Jessie Manos and John Manos; to conceal Malcolm Cisneros status as a
22

23   debt collector and its involvement with the collection process; to receive payment of money,
24   and to limit the application of the FDCPA to the Defendant.
25

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 1
     198. Because of the acts described above Plaintiffs John and Jessie Manos suffered

 2   embarrassment, anguish, grief, annoyance, loss of reputation, delays, and/or economic losses.
 3   199. Plaintiffs believe and hereby allege that the acts described above comprise part of a
 4
     pattern and practice of violations of the FDCPA committed by Defendant against similarly
 5
     situated individuals.
 6
              Count II: by Jessie Manos and Tara Borrelli against Malcolm Cisneros
 7
                                  for violation of section 1692f(6)
 8
     200. Plaintiffs incorporate by reference all foregoing paragraphs.
 9
     201. The secured debt evidenced by Mr. Manos’ promissory note and deed of trust was
10

11   never owed to Ditech. The debt was owed to Fannie Mae or the MBS trust. The named

12   Defendants, however, deliberately concealed from Plaintiffs and the public the legal status
13   and ownership of the debt and the role of Fannie Mae and its servicers during the foreclosure
14
     process, initiated foreclosure without investigating the facts and without authority, and
15
     attempted to use self-help remedies against good faith purchasers for value in violation of
16
     settled California law.
17

18                                    The Manos assignments

19   202. As explained above on or about 10 September 2012 Citi prepared and recorded a
20   bogus or fictitious intervening corporate assignment of deed of trust from MERS, as nominee
21
     for MetroCiti Mortgage LLC, purporting to assign the Manos deed of trust including “any
22
     rights due or to become due thereon” to itself. The assignment could assign solely the
23
     interest held by MERS Inc. Without the transfer of the note the assignment is a nullity.
24

25   (Exhibits at p. 0064)
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 1
     203. On 15 January 2014, after Fannie Mae repurchased from CitiMortgage Inc. the

 2   servicing rights over the Manos loan, CitiMortgage had no interest in the Manos debt, note,
 3   and mortgage despite remaining as the beneficiary in the public record.
 4
     204. On or about 17 December 2014 John Manos quitclaimed all his interests in the
 5
     Foothill property to Jessie Manos. Ms. Manos took title to the property without knowledge of
 6
     Fannie Mae’s ownership of the note and corresponding mortgage. The only recorded security
 7

 8
     interest of record at the time was that of CitiMortgage who was neither the owner, holder, or

 9   servicer of the Manos note and deed of trust. On 17 December 2014 Jessie Manos, thus,
10   acquired the status of a good faith purchaser for value. Since at the time Fannie Mae’s held
11
     an unrecorded security interest vis-à-vis Jessie Manos, Fannie Mae cannot foreclose against
12
     Jessie Manos and her assignee, Plaintiff Tara Borrelli. Fannie Mae has a recourse in a lawsuit
13
     for money owed solely against John Manos.
14

15
     205. The Ditech 27 February 2015 corporate assignment of deed of trust purporting to

16   “convey, grant, assign, transfer, and set over” the Manos deed of trust together “with all
17   rights, title and interest secured thereby, all liens, and any rights due or to become due
18
     thereon” from CitiMortgage to Green Tree is also a nullity as Citi had no interest to convey
19
     (Exhibits at p:67) The assignment, which postdate the acquisition by Jessie Manos of the
20
     good faith purchaser status, cannot be used to foreclose Jessie Manos’s interest and cannot
21
     launder a second chain of title to cure prior defects.
22

23   206. Only Fannie Mae can enforce John Manos’s debt but since Fannie Mae’s interest is
24   unrecorded Fannie Mae cannot use the non-judicial foreclosure against a good faith
25
     purchaser for value, like Jessie Manos.
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 1
     207. When, as here, the foreclosing entity had no legal authority to pursue a trustee's

 2   sale, "such an unauthorized sale constitutes a wrongful foreclosure." (Yvanova, supra,62
 3   Cal.4th at 935.)
 4
     208. To the extent that Ditech received any “assignment” or “transfer” of the defaulted
 5
     Manos note from Fannie Mae by virtue of the “holder-by-fiat” scheme described in
 6
     paragraphs 86-9, it could not have occurred until 28 December 2015 when Ditech referred
 7

 8
     the Manos account for foreclosure. Such assignment, even lawful, does not cure the lapse in

 9   Fannie Mae’s chain of title and cannot be used against a good faith purchaser for value like
10   Jessie Manos and Tara Borrelli because it postdates the GFP status acquisition by Jessie
11
     Manos. Further, the holder by fiat scheme transfers only possession of the note but not the
12
     debt. As such, even if used against a borrower with title over the property, it will not vest the
13
     servicer with the right to enforce the debt. Under the holder by fiat Fannie Mae remains the
14

15
     only entity to whom the debt is owed and continue to have constructive possession of both

16   the note and the deed of trust.
17                                     Violation of section 1692f(6).
18
     209. None of the named Defendants is licensed or registered with the Department of
19
     Consumer Affairs, Bureau of Security and Investigative Services, and thus cannot
20
     lawfully engage in repossession activities under California law. See Bus. & Prof. Code §§
21

22
     7502, 7506.3.

23   210. When Defendant Ditech directed Trustee Corps to commence foreclosure against the
24   Foothill property -- even though Ditech neither owned nor held the note and deed of trust and
25
     had no right to collect and keep the Manos debt for itself -- Defendants violated the
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 1
     California statutory foreclosure scheme.

 2   211. When Defendant Ditech and Trustee Corps commenced foreclosure against the
 3   Foothill property while a good faith purchaser for value held both title and possession to
 4
     said property, defendants took non-judicial actions and self-help remedies designed to
 5
     effect dispossession of Jessie Manos’s and Tara Borrelli’s property with full knowledge
 6
     that under California law prohibit such actions and exempt the Foothill property for non-
 7

 8
     judicial dispossession through a private foreclosure sale. Defendants cannot use non-

 9   judicial foreclosure of the Foothill property to satisfy Fannie Mae’s secured but unrecorded
10   mortgage interest upon the default of John Manos.
11
     212. The self-remedies described in paragraphs 210 and 211 were taken against a
12
     property that is exempt by law from such dispossession and disablement and in violation of
13
     section 1692f(6).
14

15
     213. The self-remedies actions described in paragraph 210 and 211 were taken by

16   Defendants when neither of them had a present right of possession over the Foothill
17   property claimed as a collateral through an enforceable security instrument. Under
18
     California law neither a trustee under a deed of trust nor a beneficiary have a present right
19
     of possession of the property given as a collateral; they hold only a non-possessory lien
20
     against the debtor-mortgagor’s property and can force a private sale only pursuant to the
21
     California non-judicial foreclosure scheme.
22

23   214. The acts described in paragraphs 210 and 211 were done intentionally and maliciously
24   to deceive Plaintiffs; to conceal Ditech’s status as a debt collector rather than a beneficiary;
25
     and to limit the application of the FDCPA to Defendants.
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 1
     215. Plaintiffs believe and hereby allege that Defendants committed the actions referenced

 2   in paragraphs 210 to 211 with malice and with knowledge that no present right to possession
 3   had vested in Ditech and that Ditech had neither the right nor the authority to conduct a
 4
     foreclosure in its own name.
 5
     216. Because of the acts described above Plaintiff John Manos, Jessie Manos, and Tara
 6
     Borrelli suffered embarrassment, grief, annoyance, loss of reputation, delays, and economic
 7

 8
     losses, out of pocket expenses, and incurred significant expenses to defend and remedy

 9   Defendants’ unlawful actions. Further, Defendants have clouded the title to the Foothill
10   property and have interfered with the property rights of Ms. Manos and Ms. Borrelli, both of
11
     whom took title to the property without knowledge of Fannie Mae’s unrecorded interest.
12
     217. Plaintiffs believe and hereby allege that the acts described above comprise part of a
13
     pattern and practice of violations of the FDCPA committed by Defendants against similarly
14

15
     situated individuals.

16                                  THIRD CAUSE OF ACTION
                                     BREACH OF CONTRACT
17                              (by All Plaintiffs against Fannie Mae)
18
     218. Plaintiffs incorporate by reference all foregoing paragraphs.
19
     219. Fannie Mae is the successor in interest to the originally named Lender in John
20

21   Manos’s promissory note and deed of trust and is bound by the terms of that mortgage

22   contract.
23   220. Ditech, as the Loan Servicer, is given specific limited functions in the mortgage
24
     contract as an agent for the Lender. The servicer is not a party to the contract.
25

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 1
     221. Fannie Mae and Ditech have no right to change unilaterally the terms of the mortgage

 2   contract, including who is considered a Lender under the note and deed of trust and who may
 3   obtain and keep payments under the note.
 4
     222. Plaintiffs’ mortgage contract requires insurance to protect the property “against loss by
 5
     fire, hazards included within the term ‘extended coverage’ and any other hazards, including
 6
     but not limited to, earthquakes and floods, for which Lender requires insurance.” (Exhibits at
 7

 8
     p. 0010)

 9   223. This Court found that the LPI purchased by Ditech was due to the fact that “Plaintiffs’
10   policy did not provide earthquake coverage as required by state law.” ECF #88 page ID
11
     #2463.
12
     224. California law does not require a homeowner to carry earthquake insurance.
13
     http://www.insurance.ca.gov/01-consumers/105-type/95-guides/03-res/eq-ins.cfm
14

15
     225. Fannie Mae requires earthquake insurance only for Puerto Rico.

16   226. Defendant Fannie Mae breached the mortgage contract and Ditech wrongfully
17   interfered with the valid contract between the mortgagor and the mortgagee by (1) requiring
18
     Plaintiffs to obtain earthquake insurance in addition to the Farmers insurance policy already
19
     in place and (2) requiring Plaintiffs and members of the putative class to incur the inflated
20
     costs of force-placed insurance for the sole benefit of Ditech.
21
     227. This breach was willful and not the result of mistake or inadvertence. Defendants
22

23   Fannie Mae and Ditech systematically require borrowers to pay for unnecessary insurance
24   beyond the amounts required and for perils for which no insurance is required under law or
25

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 1
     under their mortgage agreements solely for the financial benefit of Ditech, a non-party to the

 2   mortgage contract.
 3   228. As a direct result of this breach of contract Plaintiffs have suffered damages in the
 4
     form of inflated insurance premiums, escrow charges, interest payments, other unspecified
 5
     charges, and unnecessary burdens on their property rights.
 6
     229. Plaintiffs and the putative class are entitled to recover their consequential damages and
 7

 8
     other appropriate relief for the Defendants’ contractual breaches.

 9

10                                  THIRD CAUSE OF ACTION
                  UNFAIR COMPETITION UNDER SECTION 17200 ET SEQ.
11             (by all Plaintiffs against Defendants Ditech, Citi, and Fannie Mae)
12
     230. Plaintiffs incorporate by reference all foregoing paragraphs.
13
     231. Plaintiffs bring this action pursuant to Business and Professions Code Sections
14

15   17200, et seq.,

16   232. California Unfair Competition Law prohibits all unfair competition, which is
17   defined as "any unlawful, unfair or fraudulent business act or practice." Plaintiffs have
18
     standing to bring this claim because each of them is a direct victim of the illegal, unfair,
19
     and fraudulent business practices described under the RICO count in which Defendants
20
     engaged in solely for their financial benefit.
21

22   233. Each Defendant is a “person” as defined under Business and Professions Code

23   §17201. Each of the directors, officers, and/or agents of the named Defendants are equally
24   responsible for the acts of the other directors, officers, employees and/or agents as set
25
     forth in the Business and Professions Code §17095.
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 1
     234. Pursuant to §17203, Plaintiffs bring this action in their own interests, in the

 2   interests of other borrowers injured by Defendants’ prohibited acts and practices, and in
 3   the interest of the general public.
 4
     235. Each member of the putative class has suffered an injury in fact and pecuniary
 5
     losses in the form of depleted escrow accounts and additional debts paid for inflated,
 6
     unreasonable, and/or unconscionable fees and charges. Further, Defendants deprived
 7

 8
     borrowers of statutory rights and rendered title to property unmarketable.

 9   236. As it relates to Plaintiffs Tara Borrelli and Jessie Manos, good faith purchasers for
10   value who took title without knowledge of Fannie Mae’s unrecorded and thus unsecured
11
     interest, Defendants’ acts and practices were performed to foreclosing on the Foothill
12
     property and have diminished Plaintiffs’ property rights.
13
     237. Plaintiffs and other borrowers reasonably expected that lenders, and their
14

15
     successors in interest, would not seek to change unilaterally the terms of mortgages or

16   engage in the collection of debts though the use of the following devices: (1) false and/or
17   misleading representations; (2) unfair and abusive practices; and (3) deceitful, deceptive,
18
     and otherwise misleading means to collect debts not owed as described in paragraphs 75
19
     to 141. Plaintiffs and other borrowers reasonably expected that lenders, servicers, trustees,
20
     and other vendors would not engage in the following unfair practices: (1) deliberately
21
     misrepresenting the character, amount, and legal status of debts; (2) threatening to take
22

23   unlawful actions; and (3) collecting amounts, including interest, fees, charges, insurance
24   premiums, and expenses incidental to the primary loan obligation, that were not required
25
     and/or not authorized by the mortgage contracts or applicable law. The practices are
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 1
     described in paragraphs 75 to 150 above. Plaintiffs submit that they hold reasonable and

 2   objective consumer expectations associated with residential mortgage debts.
 3   238. Defendants knew that monthly mortgage statements, reinstatement quotes, and
 4
     payoff demands contained inflated, impermissible, and/or unearned fees and expenses.
 5
     Defendants knew that statements made in recorded assignments of deed of trust were false
 6
     and/or misleading as stated in paragraphs 75 to 119 above.
 7

 8
     239. Plaintiffs believe and hereby allege that Defendants’ actions, practices, and

 9   omissions are unlawful, deceptive, and unfair business practices under California
10   Business and Profession Code Section 17200 et seq.
11
     240. Defendants devised the five schemes described in the RICO count to avoid the
12
     application of consumer protection laws and repeatedly violated 15 U.S.C. 1692e(2), (4),
13
     (8), (10), and (12), 1692f, and 1692g, 18 U.S.C. 1341, 1343 and California Civil Code
14

15
     sections 2932.5 and 2936.

16   241. Moreover, § 2923.55(b)(1)(B)(iii) of California Civil Code require the loan servicer
17   to inform the borrower, before a notice of default is filed, of the borrower‘s right to
18
     request copies of any assignments of the deed of trust ―required to demonstrate the right
19
     of the mortgage servicer to foreclose. Mr. Manos requested the information but Ditech
20
     deliberately failed to provide the unrecorded assignment to Fannie Mae Citi and Ditech
21
     had executed. Further, §2924.17 (b) require the servicer to ensure the documentation
22

23   substantiates the right to foreclose. Defendants not only failed to do so but deliberately
24   manipulated the rules and structured their practices to foreclose in the name of entity
25
     without authority to foreclose.
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 1
     242. The legislative history shows that the provisions cited in paragraphs 241 above

 2   were added to the statute due to reports that nonjudicial foreclosure proceedings were
 3   being initiated on behalf of companies with no authority to foreclose. (See Sen. Rules
 4
     Com., Conference Rep. on Sen. Bill No. 900 (2011–2012 Reg. Sess.) as amended June 27,
 5
     2012, p. 26.)
 6
     243. Plaintiffs believe and hereby allege that Defendants hid Fannie Mae’s interest in the
 7

 8
     notes, loans, and mortgages and named other entities as beneficiaries of the deeds of trust

 9   in public records to minimize recordation costs, increase default related revenues, and
10   maintain their competitive market advantage.
11
     244. Plaintiffs believe and hereby allege that Defendants’ conduct and business practices
12
     are unfair: (1) they are deceptive; (2) they expose borrowers in default to substantial
13
     additional financial burdens through means that are unethical, oppressive, unscrupulous,
14

15
     and/or substantially injurious to consumers; and (3) they interfere with the recordation

16   statutes and create uncertainty regarding the validity of property titles. The harm caused to
17   the victims outweighs any benefits that the conduct may have to Defendants.
18
     245. Plaintiffs believe and hereby allege that Defendants’ conduct and business practices
19
     are also fraudulent because members of the public are likely to be deceived by the conduct
20
     as described in paragraphs in the RICO count above.
21
     246. Defendants’ unlawful, unfair, and deceptive acts and practices occurred repeatedly
22

23   and were capable of deceiving a substantial segment of the public.
24   247. As a direct and proximate result of Defendants’ unfair, unlawful, and deceptive
25
     practices Plaintiffs and members of the putative class have suffered and will continue to
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 1
     suffer actual damages and financial losses.

 2   248. Defendants have been unjustly enriched and must make restitution pursuant to
 3   sections 17203 and 17204 of the Act.
 4
                                        CLASS ALLEGATIONS
 5
     249. Plaintiffs incorporate by reference all foregoing paragraphs.
 6
     250. Plaintiffs bring this claim on behalf of four separate classes pursuant to Fed. R. Civ.
 7

 8
     P 23(a) and (23)(b)(1), (2) & (3).

 9   251. Plaintiffs are members of all three proposed classes and, as members of those
10        classes, each Plaintiff is a ‘representative party’ as the term is defined in Rule 23(a)
11
          and has the right to sue on behalf of the absent class members.
12
     252. Violations complained of:
13
     A.      Defendants violated the RICO by falsifying, concealing, and/or covering up by
14

15
     various tricks, schemes, and/or devices the name and identity of the true creditor and

16   owner/holder of the note secured by a recorded deed of trust, a material fact, in an effort
17   to deceive the consumer and to obtain benefits to which they were not entitled under law
18
     or contract.
19
     B.      Defendants violated the FDCPA by demanding and/or collecting excessive,
20
     unspecified, and/or unearned legal fees neither authorized by law nor expressly agreed to
21
     by the class members in the agreements creating the debt.
22

23   C.      Defendants violated the civil RICO statute by devising a scheme to swindle
24   borrowers in default as described in sub-part (A); by recording bogus assignments of
25
     deeds of trust; by mailing monthly statements, payoff demands, and reinstatement quotes
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 1
     that contained false statements; and by seeking to collect excessive, unspecified, and/or

 2   unearned fees and charges generated through sham entities, thereby increasing the debt of
 3   borrowers beyond what they were contractually obligated to pay.
 4
     The classes are defined as follows:
 5
     A.      FDCPA Corporate Advances Class:
 6

 7   (1) All individuals who held title to real property in the State of California secured by a
     deed of trust or who signed the promissory note underlying the security instrument (2)
 8   against whom Malcolm Cisneros, or their agents, collected or attempted to collect,
 9
     directly or indirectly legal fees; (3) where the loan was owned by Fannie Mae; and (4) the
     debt was incurred primarily for personal, family, or household purposes. The period
10   covered is from 18 June 2015 to the time of the class certification determination.
11

12   B.      RICO/Cal. Bus. & Prof Code 12700 Delinquency Class
13
     (1) All individuals who held title to real property in the State of California secured by a
14   deed of trust or who signed the promissory note underlying the security instrument; (2)
     where the loan was owned by Fannie Mae; (3) the servicer was either Ditech or
15
     CitiMortgage; and (4) where the servicer had reported the loan to Fannie Mae as code 80
16   (signifying Breach Letter Sent) or its equivalent. The period covered is from 18 June 2012
     to the time of the class certification determination.
17

18
     C.      RICO/Cal. Bus. & Prof Code 12700 Insurance Class
19

20
     (1) All individuals who held title to real property in the State of California secured by a
     deed of trust or who signed the promissory note underlying the security instrument; (2)
21   where the loan was owned by Fannie Mae; (3) the servicer was either Ditech or
     CitiMortgage; and (4) where Defendants mailed to the borrower a notice of the placement
22
     of force-placed insurance. The period covered is from 18 June 2012 to the time of the
23   class certification determination.
24

25

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 1
     253. Plaintiffs reserve the right to amend the class definitions and/or add subclasses in

 2   their Motion for Class Certification as necessary.
 3   254. Each class is so numerous that joinder of all members is not practicable. Plaintiffs
 4
     are unable to state the precise number of potential class members in each class because the
 5
     information is exclusively in the possession of Defendants. On information and belief, and
 6
     based on the factual investigation conducted to date, Plaintiffs allege that there are at least
 7

 8
     1000 members in each class.

 9   255. There are questions of law and fact common to each class that predominate over
10   questions relating to the claims of any individual class member, including Plaintiffs. The
11
     predominant questions for each class to which common answers will drive resolution of
12
     the litigation are as follows:
13
     (A) whether the uniform practice by servicers to withhold Fannie Mae’s name and interest
14

15
     in the debts, notes, and mortgages amounts to an actionable misrepresentation;

16   (B) whether a statement in an assignment of mortgage that the assignor ‘assigns’,
17   ‘conveys’, ‘transfers’, or ‘sells’ the deed of trust together with “all rights due or to
18
     become due”, where Fannie Mae was the actual owner and holder of the note, amounts to
19
     an actionable misrepresentation;
20
     (C) whether the practice of memorializing the transfer of servicing rights by using
21
     intervening assignments of deeds of trust amounts to fraudulent, deceptive, and/or unfair
22

23   collection practices under the FDCPA or unfair competition under section 17200 et seq.;
24   (D) whether collecting, or attempting to collect, unearned amounts for services not
25
     performed violates the FDCPA or section 17200 et seq;
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 1
     (E) whether the uniform practice of the Enterprises to collect or attempt to collect

 2   unearned amounts for services not performed, such as fees for anticipated future property
 3   inspections, late charges, title work, legal work, and other miscellaneous fees prior to the
 4
     actual accrual of such fees without disclosing that the specific amount is an estimate for
 5
     future services, violates RICO or section 17200 et seq;
 6
     (F) whether the uniform practice by servicers to force place insurance in their own name
 7

 8
     and receive commissions from the premiums added to the borrower’s debts violates

 9   section 17200 et seq.;
10   (G) whether the acts alleged amount to mail and/or wire fraud;
11
     (H) whether the acts described in this complaint amount to a pattern of racketeering
12
     activity under RICO.
13
     256. Plaintiffs’ claims are typical of the claims of the putative class members. Because
14

15
     the class representatives’ claims arise from the exact same practices and procedures that

16   form the basis of the class claims, and because the claims are predicated on the same legal
17   theories, any factual differences that may exist are insufficient to defeat typicality.
18
     257. Plaintiffs’ claims arise from the same pattern and practice of illegal acts --
19
     misrepresenting the ownership of notes and mortgages; demanding excessive,
20
     unreasonable, unauthorized, and unearned fees and premiums; and asserting wrongful
21
     possession over property claimed as collateral through a security interest without a present
22

23   right of possession -- that give rise to the claims of the class members. Plaintiffs’ claims
24   are also based on the same legal theories — that each such practice violates the RICO
25
     statutes.
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 1
     258. By pursuing their claims Plaintiffs further the interests of each class.

 2   259. Plaintiffs will fairly and adequately represent the class members as class
 3   representatives under Rule 23(a).
 4
     260. Plaintiffs will pursue the claims vigorously. Plaintiffs have retained competent,
 5
     experienced litigation counsel to pursue this action. Plaintiffs have no interest antagonistic
 6
     to the absent class members.
 7

 8
     261. A class action is superior for the fair and efficient adjudication of this matter:

 9       (A) individual actions are not economically feasible;
10       (B) members of each class are likely to be unaware of their rights;
11
         (C) Congress intended class actions to be the principal enforcement mechanism under
12
     the FDCPA and RICO. Further, by enacting section 17200 et seq. the California
13
     legislature delegated the policing of unfair competition to injured consumers on behalf of
14

15
     other aggrieved persons.

16   262. Class adjudication of the claims of the absent class members is appropriate for the
17   following reasons:
18
         (A) injunctive relief or declaratory relief would be appropriate for the class as a
19
     whole;
20
         (B) the questions of law and fact identified above are common to all class members
21
     and predominate over any questions affecting individual members;
22

23       (C) a class action would be superior to other available methods for fairly and
24   efficiently adjudicating the controversy at bar.
25
                                      PRAYER FOR RELIEF
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 1
     WHEREFORE, Plaintiffs, on behalf of themselves and all similarly situated individuals,

 2   demand judgment against Defendants as follows:
 3   (1) Declaring this to be a proper class action maintainable pursuant to Rule
 4
     23(a) and Rule 23(b)(1) and (2), or Rule 23(b)(3) of the Federal Rules of Civil Procedure
 5
     and declaring Plaintiffs and their counsel to be representatives of the Classes;
 6
     (2) Enjoining Defendants from continuing the acts and practices described above;
 7

 8
     (3) Awarding damages sustained by Plaintiffs and the classes as a result of Defendants’

 9   breaches of the mortgage contracts, together with pre-judgment interest;
10   (4) Awarding actual and statutory damages sustained by Plaintiffs and the classes as a
11
     result of Malcolm Cisneros violations of the FDCPA;
12
     (5) Finding that Defendants have been unjustly enriched and requiring Defendants to
13
     refund all unjust benefits to Plaintiffs and the classes, together with pre-judgment interest;
14

15
     (6) Awarding Plaintiffs and the classes costs and attorney fees for violating the FDCPA;

16   (7) Awarding Plaintiffs and the classes restitution, injunctive relief, declaratory relief,
17   attorney fees, and costs under section 17200 et seq.;
18
     (8) Awarding a penalty of $500,000.00 or 1% of each Defendant’s net worth for violating
19
     the FDCPA;
20
     (9) Awarding compensatory and treble damages and attorney fees and costs under the
21
     federal RICO statute; and
22

23   (10) Awarding such other and further relief as justice requires.
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                                                                       Law Offices of Larry R. Glazer

                                                                     1875 Century Park East, Suite #700

                                                                       Century City, California 90067


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                                          #:2846



 1
                         Respectfully Submitted by

 2                       _____s/ Nicolette Glazer Esq.________
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 7
                              ATTORNEY FOR PLAINIFFS AND THE
 8                       PUTATIVE CLASSES

 9

10
                                           JURY DEMAND

11   Plaintiffs hereby exercise and invoke their right to a jury trial.
12
                                Respectfully Submitted by
13
                         _____s/ Nicolette Glazer Esq.________
14
                              Nicolette Glazer Esq.
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                                         #:2847



 1                            CERTIFICATE OF SERVICE
 2         I hereby certify that on 3 March 2018 I electronically transmitted the
 3   attached document to the Clerk's Office using the CM/ECF System for filing and
 4   transmittal of a Notice of Electronic Filing to the appropriate CM/ECF registrant.
 5   DATED: 16 January 2018
 6

 7
                                     Respectfully Submitted by

 8                            _____s/ Nicolette Glazer Esq.________
                                   Nicolette Glazer Esq.
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